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                             EXHIBIT 3
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            EXPERT DECLARATION OF CHARLES T MEHLMAN, DO, MPH
    1. EXPERT QUALIFICATIONS

                I am a graduate of the Ohio University Heritage College of Osteopathic Medicine and
        completed an Ohio University residency in Orthopaedic Surgery as well as fellowship training in
        Pediatric Orthopaedic Surgery at Cincinnati Children’s Hospital. In addition, I received a Masters
        of Public Health (MPH) degree from the Harvard Chan School of Public Health with an emphasis
        on epidemiology and clinical effectiveness. I am board certified (and re-certified twice) in
        Orthopaedic Surgery and licensed to practice medicine in the State of Ohio.

                I have been a practicing academic pediatric orthopaedic surgeon for the last twenty-five
        years and hold the rank of Professor at the University of Cincinnati College of Medicine. I have
        a special research interest in the area of conflict of interest in medicine. I have multiple
        publications on this topic in national and international peer-reviewed journals (including the
        New England Journal of Medicine). I also have extensive experience as a member of editorial
        review boards for multiple medical journals (e.g. J Pediatr Orthop, J Orthop Trauma, J Child
        Orthop, The Spine Journal).

                Additional qualifications include my overall experience as a clinical researcher (over 130
        peer reviewed publications) and my participation over the last decade either as committee
        member or chairperson of the US News and World Report Pediatric Orthopaedic Work Group.
        This work group establishes the criteria used to rank children’s hospitals across the United
        States.

                My current curriculum vitae is attached as Exhibit A.

    2. QUESTIONS ASKED

                 Counsel for Pacira Biosciences, Inc. asked me to summarize the current standards for
        identifying and mitigating conflicts of interest in medical publications and to evaluate two
        articles published in the February 2021 issue of ANESTHESIOLOGY related to liposomal
        bupivacaine regarding their compliance with such standards.

    3. SUMMARY OF OPINIONS
          a. Healthcare professionals and others in the medical industry frequently receive
             compensation from industry entities in support of different types of work. This
             remuneration, regardless of its size, creates a risk that the outcomes of medical
             research and medical publications may be influenced by the payments. To mitigate
             against such risk, it is imperative that publication authors accurately disclose their
             industry relationships in their publications for purposes of transparency so that the
             reader may consider that relationship when evaluating the publication.

            b. Editors of publications also face the risk of being influenced in their editorial decisions,
               especially publication decisions, by compensation received from industry entities. They,
               too, should disclose those relationships and recuse themselves from publication
               decisions related to articles for which they have a conflict of interest.


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           c. The authors of two articles published in the February 2021 issue of ANESTHESIOLOGY
              raise serious questions regarding the above stated issues. The articles were critical of
              liposomal bupivacaine (trade name EXPAREL). There was a failure of certain authors of
              those articles to disclose financial conflicts of interest derived from manufacturers of
              competitor pharmaceuticals and pharmaceutical devices. This failure to disclose is a
              breach of well-established medical journal standards.

           d. The editor-in-chief of ANESTHESIOLOGY appears to have a conflict of interest with
              respect to EXPAREL and should have disclosed that conflict of interest and recused
              himself from any publication decision with respect to the two articles. His research and
              past publications reveal a pro-opioid bias, which creates the risk of bias when
              considering liposomal bupivacaine, a post-operative alternative to opioids.

    4. OPINIONS
          a. Overview of Bias in Medical Research Publications and How It Is Addressed

                A conflict of interest can arise when a personal, financial, or professional interest of a
       researcher, physician, or medial publication editor creates a risk of bias and resulting harm in
       the individual’s exercise of professional judgement. The issue of conflict of interest and its
       influence on the publication of medical research has received abundant attention over the last
       several decades. The key concern is that those involved with the publication of medical
       research may be driven by undisclosed biases that affect the outcome of the research and
       publication decisions associated with it. Public interest in the issue of industry-related financial
       conflicts of interest and their influence on physician behavior stimulated Congressional interest
       in the same with eventual legislation that created mandatory reporting requirements and the
       publically available Open Payments database. [OPEN PAYMENTS] It has been shown that
       conflicted authors may be at risk of reaching conclusions that support the interests of those who
       financially supported the research. [Okike 2008] These concerns have been shown to span all
       studied medical specialties. [Kjaergard 2002, Momeni 2009, Okike 2007, Perlis 2005, Riaz 2018]

           The medical specialty of anesthesiology is not immune to the existence of such potential
       conflicts of interest. A national physician database study found overall that 40% of United
       States anesthesiologists had industry-related payment histories with 3% of them receiving
       greater than $10,000. [Tringale 2017] Another study focusing on the top industry-supported
       physicians in ten different medical specialties found that anesthesiologists were the second
       most frequently represented specialty with an average payment of $95,993. [Ziai 2018] A cross-
       sectional study that spanned more than a decade of clinical practice guidelines published in the
       top ten anesthesia journals found that more than 60% of guideline panel members had reported
       conflicts of interest. [Wyss 2019] When looking at all physicians receiving $100,000 or more in
       pharmaceutical payments, anesthesiologists had the highest average payment per physician
       ($174,666). [Norris 2012]

           Whereas strikingly large physician payments may draw more attention, the measured
       associations of financial conflicts of interest are not directly proportional to the size of the
       payment. [Lo 2017] What would appear to be surprisingly small financial incentives have been

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       shown to influence physician behavior. For example when opioid prescribing habits of a mixed
       group pf physicians (including pain medicine specialists, anesthesiologists, psychiatrists, and
       neurologists) were studied, those receiving opioid-related payments (average payment in the
       range of $13) had a more than 70% increased odds of overprescribing opioids as compared to
       physicians not receiving such payments. [Fleischman 2019] Using the federally-mandated Open
       Payments database, researchers have shown that as many as 1 in 12 physicians in the United
       States receive opioid-related payments of a non-research nature, with anesthesiologists
       receiving the highest average payments (median payment of $50). [Hadland 2017] Thus, based
       on available literature, there does not appear to be any particular threshold regarding financial
       conflicts of interest.

           Of course, simply because a medical study is funded by industry or that the author has
       received industry payments does not necessarily mean that the conclusions are flawed. Indeed,
       some industry-sponsored studies can be very well done and offer important information to the
       medical community. But in order to provide a check on any potential biases (intentional or
       unintentional) it is necessary to disclose those financial interests so that readers may choose to
       factor that information into their consideration of the article’s take-home message. For that
       reason, the predominant strategy adopted by the medical journal establishment to mitigate
       such conflicts of interest has been author disclosure. [Bauchner 2018] In fact, virtually all
       medical journal currently have some type of conflict of interest declaration policy for authors.
       [Okike 2009] Many journals, including ANESTHESIOLOGY, utilize the International Committee of
       Medical Journal Editors (ICMJE) Uniform Requirements for Manuscripts Submitted to Biomedical
       Journals (attached as Exhibit B), emphasizing a commitment to author transparency to allow
       readers to make their own judgements. The ANESTHESIOLOGY journal website specifically
       states that “authors must disclose all commercial associations, including consultancies, equity
       interests, or patent-licensing arrangements.”
       [https://pubs.asahq.org/anesthesiology/pages/instructions-for-authors-general#coi Accessed 3-
       17-21] At least one authority from within the field of academic anesthesiology has called for
       dollar specific disclosure policies for authors and speakers. [Kofke 2010]

            Most attention has been focused on conflict of interest issues as they relate to authors, but
       a growing body of literature now sheds light on those who review or approve clinical research
       studies: editors and editorial board members. In a study of 100 academic medical institutions it
       was noted that 67% of members of institutional review boards had financial relationships with
       industry. [Campbell 2006] A review of the physician editorial review board members for the top
       fifteen orthopaedic surgery journals found that 78% had financial conflicts of interest. [Mehlman
       2017] In another study of 35 medical journals and 447 so-called top tier physician editors, a
       nearly 64% rate of financial conflicts of interest was uncovered. [Wong 2019]

           Due to the extremely powerful and important function that these overseers of the
       publication process serve, there has been an increasing crescendo of calls for conflict of interest
       transparency of editors in addition to authors. [Teixeira da Silva 2019, Wong 2019] Although
       disclosure among editorial staff is not as common as with authors, the issue is drawing increased
       attention and there is a clear upward trend towards editor disclosure. Multiple professional


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       editors’ associations recommend that relevant conflicts of interest among editors be disclosed
       and that editors recuse themselves if they have a potential conflict of interest with an article
       under consideration. [Hague 2018] For example, the Journal of the American Medical
       Association (JAMA) has policies to control for editorial bias. A group of editors jointly discuss
       whether to invite authors to submit a revised manuscript after peer review; final decisions
       regarding publication are made by the editor-in-chief or a designated editor who does not have
       any relevant conflicts of interest. JAMA has a formal recusal process should an editor have a
       conflict of interest. [Fontarosa 2017]

           b. The journal ANESTHESIOLOGY Failed to Follow Accepted Protocols With Respect to
              Conflicts of Interest Affecting EXPAREL-related publications.

           I have reviewed two publications in the February 2021 issue of ANESTHESIOLOGY related to
       liposomal bupivacaine. From my review it is clear that these conflict of interest reporting
       standards were not followed with respect to the following articles:

           (1) Ilfeld BM, Eisenach JC, Gabriel RA. Clinical effectiveness of liposomal bupivacaine
               administered by infiltration or peripheral nerve block to treat postoperative pain.
               Anesthesiology 2021;134:283-344.
           (2) Hussain N, Brull R, Sheehy B, Essandoh MK, Stahl DL, Weaver TE, Abdallah FW.
               Perineural liposomal bupivacaine is not superior to nonliposomal bupivacaine for
               peripheral nerve block analgesia. Anesthesiology 2021;134:147-164.

       As discussed below, these articles raise questions related to financial conflicts of interest and
       appropriate disclosures, biased study design, and editorial influence over the overall message
       that was delivered regarding liposomal bupivacaine.

                First, the Ilfeld et al. article strikes a clear negative tone regarding the medication in
       question. Direct quotes include: “The preponderance of evidence fails to support the routine
       use of liposomal bupivacaine over standard local anesthetics” (from the ABSTRACT), “Thus,
       there are currently insufficient data to conclusively support or refute the use of liposomal
       bupivacaine administered as a peripheral nerve block” (from p. 332), and “However, before
       widespread adoption, it is incumbent on those proposing a switch to liposomal bupivacaine to
       provide high-quality data from multicenter, randomized, active controlled trials with a low risk
       of bias conclusively demonstrating benefits that justify the 100-fold increase in cost over
       unencapsulated bupivacaine” (from p. 344). [Ilfeld 2021]

               The article is a “narrative review”, the very nature of which offers ample opportunities
       for subjective assessment and opinion masquerading as fact. In fact, such review articles are
       not even recognized in commonly utilized hierarchies of evidence and their potential for bias is
       considered to be significant. [Bhandari 2002, Murad 2014, Murad 2016] The risk of influence
       from subjective bias makes it particularly important to disclose any financial interests. And yet,
       two of the authors of the Ilfeld et al article (including the lead author) fail to disclose highly
       relevant conflicts of interest. The disclosure included at the end of the article acknowledges
       that Drs. Ilfeld and Gabriel received research support from four different companies, including

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       past consulting work (2011-2014) that Ilfeld performed for Pacira Pharmceuticals (the
       manufacturer of EXPAREL, a liposomal bupivacaine criticized in the article). However, the
       disclosure fails to report other funding the authors received from manufacturers of non-
       liposomal bupivacaine drugs and medical devices that compete with EXPAREL. These
       undisclosed payments include a $2,500 payment Gabriel received in October 2019 from Heron
       Therapeutics, the manufacturer of a competitor product. [OPEN PAYMENTS] Ilfeld has also
       authored multiple journal articles in which he disclosed that the University of California San
       Diego (UCSD), where he is a professor of anesthesiology, received research support from Heron
       in 2020 and 2021, yet Ilfeld failed to include that disclosure in the narrative review of EXPAREL.
       [Finneran 2020, Ilfeld 2021, Swisher 2020] Ilfeld also failed to disclose that he received $14
       million in Department of Defense funding for his research involving treatment modalities that
       compete with EXPAREL. [https://profiles.ucsd.edu/brian.ilfeld#toc-id0] In addition, Gabriel and
       Ilfeld failed to disclose additional funding that they received from InfuTronix (Natick, MA), a pain
       pump that competes with EXPAREL. Once again, Ilfeld and Gabriel made this disclosure in other
       recent articles, but did not do so in the February 2021 narrative. [Finneran 2020, Ilfeld 2021]

                 These omissions represent key information that should have been immediately available
       to the reader and would typically have been included on the required ICMJE disclosure form. It
       is also striking that a number of Brian M Ilfeld’s publications during the same timeframe do
       disclose his relationship with Heron Therapeutics. [Finneran 2020 A&A Pract, Finneran
       Aneshtesiol 2020, Ilfeld 2018, Ilfeld 2020, Ilfeld 2020, Ilfeld 2021, Swisher 2020] This raises a
       question of whether his omission of this relationship in the ANESTHESIOLOGY publication was
       truly inadvertent. These omissions by Ilfeld et al are all the more notable given the authors own
       admonition in criticizing purported bias within relevant articles included in their review, even
       overtly stating “… minimizing conflict of interest should be emphasized” (from p. 333). [Ilfeld
       2021]

                Second, the Hussain et al. article takes an adversarial position with respect to liposomal
       bupivacaine. Indeed, the title states: “Perineural Liposomal Bupivacaine is Not Superior to
       Nonliposomal Bupivacaine for Peripheral Nerve Block Analgesia”. [Hussain 2021] Other strong
       negative comments include, “Perineural liposomal bupivacaine provided a statistically significant
       but clinically unimportant improvement in … postoperative pain scores compared with plain
       local anesthetic” (from the ABSTRACT), and “We also found liposomal bupivacaine to be no
       different from nonliposomal bupivacaine for all other analgesic and functional outcomes” (from
       p. 158). [Hussain 2021] Yet the Hussain et al. article also fails to disclose relevant financial
       interests.

               In particular, the disclosures for Tristan E. Weaver, M.D. declare only that he is a
       consultant for the Medtronic Corporation. However, according to the Open Payments database,
       over the last three years Dr. Weaver received an undisclosed amount of financial support from
       Abbott Laboratories (a manufacturer of non-opioid pain medication) and over $9,000 of
       research related support from Egalet Incorporated (manufacturers of pain medications
       oxycodone and ketorolac). [OPEN PAYMENTS] These financial relationships were withheld from
       readers of the article.


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           c. The Editor-In-Chief Of ANESTHESIOLOGY Shows Himself To Not Be An Unbiased
              Referee And Demonstrates Many Pro-Opioid Opinions.

                Evan D. Kharasch (Editor-In-Chief of ANESTHESIOLOGY) has an easily identifiable track
       record of comments, attitudes, and positions that are pro-opioid and effectively anti-EXPAREL.
       In an April 2021 pro-opioid editorial he asserts: “Opioid-free anesthesia may be feasible.
       Nevertheless, it appears neither logical nor beneficial to patients.” [Kharasch 2021] In a pro-
       opioid April 2020 editorial, Kharasch stated: “Approaches to the management of perioperative
       pain should be less arbitrary and commercially influenced and more evidence-based than the
       practices that caused the opioid crisis in the first place.” [Kharasch 2020] He also commented
       with respect to the long-acting opioid methadone that “Perhaps counterintuitively, opioids
       themselves can be opioid sparing.” Kharasch and his fellow researchers also published pro-
       opioid methadone related research in 2019. [Komen 2019] Similarly, a 2018 Kharasch editorial
       states: “For millennia, opioids have been a mainstay of pain treatment.” [Rathmell 2018]
       Kharasch’s published support of the opioid methadone dates back to at least 2011 with his
       publications “Intraoperative Methadone: Rediscovery, Reappraisal, and Reinvigoration?” and
       “Perioperative Pharmacokinetics of Methadone in Adolescents.” [Kharasch 2011, Sharma 2011]
       Dr. Kharasch has received considerable funding for this opioid-related research:

       •       R01-DA042985 Optimizing Out-Patient Anesthesia: Improving Analgesia and Reducing
               Opioid Misadventure: $566,187 [https://taggs.hhs.gov].

       •       R01-DA014211-11 Methadone and HIV Drug Interactions: $561,637
               [https://taggs.hhs.gov]

       •       R01-DA025931-05 Addiction Therapy: Metabolism and Transport-Mediated Drug
               Interaction: $328,423. Other related R01 funding related to this project: $328.423
               (2011), $338,580 (2010), $342,000 (2009), $342,000 (2008) [https://taggs.hhs.gov].

       •       K24-DA000417-01 Opioids in Cancer Pain and Drug Abuse – Optimizing Therapy:
               $109,264 [https://grants.nih.gov].

               Dr. Kharasch has received millions of dollars in federal funding related to his studies of
       opioids. This is a clear conflict of interest that should have been disclosed, and he should have
       recused himself from publication decisions that implicate that conflict. However, with respect to
       the February 2021 liposomal bupivacaine articles, there is no indication he did either. Indeed,
       his ANESTHESIOLOGY profile expressly declares no conflicts of interest. [ANESTHESIOLOGY]
       Thus, not only are readers not able to weigh his conflict of interest in their review of
       ANESTHESIOLOGY articles, Dr. Kharasch has affirmatively and misleadingly informed the readers
       that he has no such conflicts.

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  Date: April 7, 2021
                                                     Charles T Mehlman, DO, MPH




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   SOCIAL SECURITY    Available Upon Request
   NUMBER

   FAMILY             Maya Juliette Mehlman (Daughter) DOB: 7/18/01
                      Bronson Ramsey Mehlman (Son) DOB: 7/18/01
                      Isabella Maggie Mehlman (Vizsla) DOB: 9/3/08
                      Jack Mehlman (Bluetick Coonhound) DOB: 2/15

   PRESENT POSITION   Attending Pediatric Orthopaedic Surgeon
                      Professor, Pediatrics and Pediatric Orthopaedic Surgery
                      Director, Musculoskeletal Outcomes Research
                      Director, Pediatric Orthopaedic Resident Education
                      Division of Pediatric Orthopaedic Surgery
                      Cincinnati Children’s Hospital Medical Center
                      Cincinnati, Ohio
                      9/96 – present
Case 2:21-cv-09264-MCA-JSA Document 3-5 Filed 04/14/21 Page 13 of 112 PageID: 290
  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                       Curriculum Vitae Continued



   CERTIFICATIONS         Re-certification 2019 Certificate No. R-1227
                          Board Certified, American Osteopathic Board of
                          Orthopaedic Surgery [01/01/2019 - 12/2028]


                          Standards Setting Committee, Member [2000 – present]




                          Fellow, American Osteopathic Academy of Orthopedics
                          [1998] #051035


                          Diplomat, National Board of Osteopathic Medical
                          Examiners [1990] #17802


                          Certified Athletic Trainer, National Athletic Trainer’s
                          Association
                          [1985 – 1995] #4-1425
                          Certified, CCHMC Procedural Sedation/Analgesia [2003 –
                          Current]

                          PALS Provider, American Heart Association/AAP [2002 –
                          Current]


   MEDICAL LICENSES       Ohio [1990 – present] No. 34-00-5069

   ACADEMIC               Professor Pediatrics and Pediatric Orthopaedic Surgery
   APPOINTMENTS           University of Cincinnati College of Medicine
                          Cincinnati, Ohio
                          2008 – Present

                          Adjunct Clinical Associate Professor
                          Ohio University Heritage College of Osteopathic Medicine
                          Pediatric Orthopedic Surgery
                          Athens, OH
                          2018 through the end of 2021

                          Associate Professor Pediatrics and Pediatric Orthopaedic
                          Surgery
                          University of Cincinnati College of Medicine
                          Cincinnati, Ohio
                          2002 – 2008




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                        Curriculum Vitae Continued



                          Assistant Professor Pediatrics and Pediatric Orthopaedic
                          Surgery
                          University of Cincinnati College of Medicine
                          Cincinnati, Ohio
                          1997 – 2002
                          Associate Clinical Professor, Orthopaedic Surgery
                          Ohio University College of Osteopathic Medicine
                          Athens, Ohio

                          Adjunct Clinical Professor, Pediatric Orthopaedic Surgery
                          Pikeville College of Osteopathic Medicine
                          Pikeville, Kentucky

   EDUCATION              Clinical Effectiveness and Outcomes Research, Masters of
                          Public Health (MPH)
                          Harvard School of Public Health
                          Boston, Massachusetts
                          7/96 – 11/98

                          Fellowship, Pediatric Orthopaedic Surgery
                          University of Cincinnati College of Medicine
                          Cincinnati Children’s Hospital Medical Center
                          Cincinnati, Ohio
                          7/95 – 6/96

                          Residency, Orthopaedic Surgery
                          Ohio University College of Osteopathic Medicine
                          Grandview Hospital and Medical Center
                          Dayton, Ohio
                          7/91 – 6/95

                          Internal Medicine (Preliminary Medicine Year)
                          Akron General Medical Center
                          Akron, Ohio
                          7/90 – 6/91

                          Rotating Internship
                          Ohio University College of Osteopathic Medicine
                          Grandview Hospital and Medical Center
                          Dayton, Ohio
                          7/89 – 6/90

                          Medical School, Doctor of Osteopathic Medicine (DO)
                          Ohio University College of Osteopathic Medicine
                          Athens, Ohio
                          9/85 – 6/89



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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                      Curriculum Vitae Continued



                          The University of Akron
                          Akron, Ohio
                          Major = Physiology (BA)
                          Minor = Chemistry
                          Certified Athletic Trainer (ATC)
                          8/80 – 5/85

   ORTHOPEADIC            Oakstone
   BOARD                  Medical Publishing Director
   EXAMINATION            Orthopaedic board Review (5th Edition) 2019
   SERVICE                38 Lectures
                          20 Speakers

                          Oakstone
                          Medical Publishing Director
                          Orthopaedic Board Review (4th Edition) 2016
                          36 Lectures
                          25 Speakers

                          Oakstone
                          Medical Publishing Director
                          Orthopaedic Board Review (3rd Edition) 2014
                          33 Lectures
                          24 Speakers

                          Oakstone
                          Medical Publishing Director
                          Orthopaedic Board Review (2nd Edition) 2012
                          33 Lectures
                          24 Speakers

                          Oakstone
                          Medical Publishing Director
                          Orthopaedic Board Review (1st Edition) 2010
                          30 Lectures
                          26 Speakers

                          Clinical Examiner
                          Clinical Exam
                          7/28/2004 to present

                          Item Writing Committee
                          TC - Test Development
                          3/12/2006 -3/4/2011




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                          American Osteopathic Board of Orthopedic Surgery
                          Standard Setting Committee
                          Test Development
                          1/17/2003 – 11/11/2010




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                    Curriculum Vitae Continued



   SELECTED NATIONAL 2020-2021 Orthopedics Working Group - U S News &
   COMMITTEE SERVICE World Report BEST Children’s Hospitals (Leader)


                          2019-2020 Orthopedics Working Group - U S News &
                          World Report BEST Children’s Hospitals (Leader)


                          2018-2019 Orthopedics Working Group - U S News &
                          World Report BEST Children’s Hospitals (Leader)


                          2017-2018 Orthopedics Working Group - U S News &
                          World Report BEST Children’s Hospitals (Leader)


                          2016-2017 Orthopedics Working Group - U S News &
                          World Report BEST Children’s Hospitals (Leader)


                          2015-2016 Orthopedics Working Group - U S News &
                          World Report BEST Children’s Hospitals (Leader)


                          2014-2015 Orthopedics Working Group - U S News &
                          World Report BEST Children’s Hospitals (Leader)


                          2013-2014 Orthopedics Working Group - U S News &
                          World Report BEST Children’s Hospitals (Leader)


                          2012-2013 Orthopedics Working Group – U S News &
                          World Report BEST Children’s Hospitals


                          2011-2012 Orthopedics Working Group – U S News &
                          World Report BEST Children’s Hospitals


                          2010-2011 Orthopedics Working Group – U S News &
                          World Report BEST Children’s Hospitals




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   CHINESE MEDICAL        2011 “Eee-Hua” Ge, MD – 3 month Chinese Exchange Fellow
   MISSIONS /             to Cincinnati Children’s Division of Pediatric Orthopaedic
   CHINESE EXCHANGE       Surgery
   FELLOWSHIP WORK
                          2010 Dr. “Shoo” – 3 month Chinese Exchange Fellow to
                          Cincinnati Children’s Division of Pediatric Orthopaedic
                          Surgery

                          2009 Zhigang Wang, MD - 6 month Chinese Exchange
                          Fellow to Cincinnati Children’s Division of Pediatric
                          Orthopaedic Surgery

                          2007 Healing The Children Scoliosis / Spinal Deformity
                          Mission Trip to Shanghai, CHINA (Mehlman, TEAM
                          LEADER)

                          2006 Healing The Children Scoliosis / Spinal Deformity
                          Mission Trip to Shanghai, CHINA (Mehlman, TEAM
                          LEADER)

                          2005 Healing The Children Scoliosis / Spinal Deformity
                          Mission Trip to Shanghai, CHINA (Mehlman, TEAM
                          LEADER)

                          2004 Healing The Children Orthopaedic Surgery Mission
                          Trip to Shanghai, CHINA (DiPasquale, TEAM LEADER)

   CCHMC                  Co - Director, Limb Reconstruction Clinic
   PROGRAMMATIC
   INVOLVEMENT            Co – Director, Brachial Plexus Center

                          Attending Pediatric Orthopaedic Surgeon, Spine Center

                          Attending Pediatric Orthopaedic Surgeon, Sports Medicine
                          Biodynamic Center

                          Pediatric Orthopaedic Consultant, International Adoption
                          Center




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   HONORS/AWARDS

                          Orthopedic Subspecialist of the Year for Exemplary
                          Mentorship July2016-June2017

                          Cincinnati Magazine
                          Cincinnati Top Doctors 2018




                          Cincinnati Magazine
                          Cincinnati Top Doctors 2017




                          Cincinnati Magazine
                          Cincinnati Top Doctors 2016




                          Cincinnati Magazine
                          Cincinnati Top Doctors 2015




                          Cincinnati Magazine
                          Cincinnati Top Doctors 2014




                          Cincinnati Magazine
                          Cincinnati Top Doctors 2013




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                          Cincinnati Magazine
                          Cincinnati Top Doctors 2012




                          Ohio Osteopathic Association George L. Eckert, Jr., DO
                          Mentor of the Year Award, Hall of Fame Induction 2014

                          AOAO Morton J. Morris, DO, JD Award for Osteopathic
                          Orthopedic Education 2014

                          Ohio University Mentor Hall of Fame Inductee 2014

                          The American Journal of Orthopedics
                          2012 Resident Writer’s Award
                          Second-Place
                          Original Study
                          The Orthopedic Gender Gap: Trends in Authorship and
                          Editorial Board Representation Over the Past 4 Decades
                          Okike K, Liu B, Lin YB, Torpey JL, Kocher MS, Mehlman CT,
                          Bhandari M, Biermann JS

                          Ohio University
                          Medal of Merit 2012

                          Bellaire High School
                          Alumnus of the Year 2011

                          Bethedsa Hospital Family Medicine Residency
                          Teacher of the Year 2010

                          Re-certification 2009 Certificate No. R-1227, AOBOS, #1
                          score in nation

                          Ohio University College of Osteopathic Medicine
                          2006 Medal of Merit Award
                          October 28, 2006




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                        Curriculum Vitae Continued



                          Scoliosis Research Society
                          Fellow, 2005 SRS Traveling Fellowship
                          Sapporo, Japan
                          Seoul, Korea
                          Beijing, China
                          Hong Kong
                          Bangkok, Thailand
                          Singapore
                          May 13–June 4, 2005
                          Spinal Deformity Education Group
                          Fellow, Spinal Deformity Advancement Award
                          2003/2004

                          Scoliosis Research Society
                          Goldstein Award
                          Best Poster
                          Mehlman CT, Al-Sayyad MJ, Crawford AH.
                          Effectiveness of Spinal Release and Halo-Femoral Traction
                          in the Management of Severe Spinal Deformity.
                          2001 Annual Meeting Scoliosis Research Society
                          Cleveland, Ohio
                          September 18-22, 2001

                          American Fracture Association (Trinidad, West Indies)
                          Femoral Shaft Fractures in Children: Traction and Casting
                          Versus Intramedullary Nailing
                          1st place Meyerding Award
                          Spring, 2000

                          American Osteopathic Academy of Orthopaedics (Seattle,
                          Washington)
                          Orthopaedic Injuries in Children Secondary to Airbag
                          Deployment: A Report of Two Cases
                          1st place poster “clinical category”
                          Fall, 1999

                          Yearbook of Orthopedics 1998 (Mosby, St. Louis)
                          Radiation Exposure to the Orthopaedic Surgical Team
                          During Fluoroscopy: “How Far Away is Far Enough?”
                          Included as one of the “papers representing significant
                          advances and statements of important clinical principles”




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                         Curriculum Vitae Continued



                          American Fracture Association
                          Nashville, TN
                          2nd Place Myerding Award
                          Traumatic Hip Dislocations in Children
                          Spring 1998

                          Annual Clinical Assembly Osteopathic Specialists
                          New Orleans, LA
                          1st Place Scientific Poster Display
                          Radiation Exposure to Orthopaedic Surgical Team
                          Fall 1995

                          Annual Clinical Assembly Osteopathic Specialists
                          New Orleans, LA
                          2nd Place Scientific Poster Display
                          Video-Assisted Thoracoscopic Surgery of Spine
                          Fall 1995
                          Annual Clinical Assembly Osteopathic Specialists
                          San Francisco, California
                          2nd Place Scientific Poster Display
                          Arthroscopic Bankart Suture Repair
                          Fall 1993

                          Annual Clinical Assembly Osteopathic Specialists
                          Chicago, IL
                          3rd Place Scientific Poster Display
                          Effects of Ketorolac on Collagen Production
                          Fall 1992

                          Dayton Regional Cancer Association
                          Resident Writing Contest
                          1st Place – Surgical Division
                          Primary Lymphoma of Bone
                          Winter 1991

                          Northeastern Ohio Universities College of Medicine
                          Akron General Medical Center
                          Post-Graduate Day Research Competition: 2nd Place
                          Ketorolac Stimulation of Collagen Production
                          1991

                          Student Osteopathic Medical Association
                          Squibb Intern Scholarship Recipient
                          Grandview Hospital and Medical Center
                          Clinical Medical Education – An Opinion
                          1990



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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                     Curriculum Vitae Continued




                          National Athletic Trainer’s Association
                          Certification Achievement Award for Highest Score on
                          Certification Examination
                          1985




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                       Curriculum Vitae Continued



   VISITING               Mehlman CT Visting Professor
   PROFESSORSHIPS/        Dupont Virtual Visiting Professor Series
   FEATURED SPEAKER       Pedi Ankle Fracture Complications: New Insights into an old
                          problem
                          The Wisdom of Teams: Evolution of Pediatric Orthopaedic
                          Surgical Care
                          November 11 2020

                          Mehlman CT - Visiting Professor
                          Michigan State University College of Osteopathic Medicine
                          Peds & Peds Trauma Conference: Pediatric Elbow Fracture
                          Extravaganza
                          Supracondylar Humeral Fractures: The Most Common
                          Pediatric Elbow Fracture
                          Some Supracondylars Suck: Complications & Scary Stories
                          Lateral Condyle Fractures: The Most Common Growth Plate
                          Fracture of the Elbow
                          Radial Neck Fracture: Disproportionate Bad Results Await
                          Detroit, Michigan
                          September 12, 2019

                          Mehlman CT – Guest Speaker
                          Children's Health Care Batesville
                          "My Kid's Legs Look Funny" and "My Kid Just Started
                          Limping" combined lecture
                          Batesville, IN
                          January 16, 2019

                          Mehlman CT – Guest Speaker
                          University of Cincinnati
                          Caducea Pre-Medical Society
                          DOs are the Coolest
                          Cincinnati, Ohio
                          November 9, 2018

                          Mehlman CT – Guest Speaker
                          University of Cincinnati
                          Emergency Medicine Grand Rounds
                          Little Bones Big Problems
                          Cincinnati, Ohio
                          October 31, 2018




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                        Curriculum Vitae Continued



                          Mehlman CT Visiting Professor
                          AAJ 2018 Annual Convention
                          Birth Trauma Litigation
                          Colorado Convention Center
                          Neonatal Brachial Plexus Palsy: What The Heck Are The
                          Risk Factors?
                          Denver, Colorado
                          July 8, 2018

                          Mehlman CT Visiting Professor
                          John S. Smith, MD Memorial Orthopaedic Symposium
                          Orthopaedic Controversies
                          The Queens Conference Center
                          Clavicle Fractures: Hey It’s Only a Kid
                          Honolulu, Hawaii
                          April 5, 2018

                          Mehlman CT Visiting Professor
                          33RD Annual Combined Orthopaedic Combined Symposium
                          Hale Koa Hotel
                          The Difficult Pediatric Supracondylar Humeral Fracture:
                          Scary Stories About Things that go Bump in the Night
                          Femoral Shaft Fractures: Teenie Tinys, School Age, and
                          Knuckle Heads
                          Honolulu, Hawaii
                          April 6-7, 2018

                          Mehlman CT - Visiting Professor
                          Michigan State University College of Osteopathic Medicine
                          Peds & Peds Trauma Conference
                          Biggest Bone in the Body: Pediatric Tibia Fractures are
                          Cool
                          The 3 “T’s” of Pediatric Ankle Fractures: Tillaux, Triplane,
                          & Tachdjian
                          Clavicle Shaft Fractures: Hey It’s Only A Kid
                          Pediatric Polytrauma: Navigating Gator Country
                          Detroit, Michigan
                          September 13, 2017

                          Mehlman, CT – Visiting Professor
                          17th Annual Trauma Symposium Notre Dame
                          Pediatric Polytrauma: Navigating Gator Country
                          The Difficult Supracondylar Humeral Fracture: Scary
                          Stories About Things that Go Bump in the Night
                          South Bend, Indiana
                          March 18, 2017



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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                        Curriculum Vitae Continued




                          Visiting Professor – Featured Speaker
                          4th Annual Neil E. Green Lectureship
                          Vanderbilt, University
                          Nashville, Tennessee
                          2016

                          Invited Lectureship
                          Oklahoma State University Medical Center
                          Oklahoma State University –
                          Tulsa, Oklahoma
                          2015

                          Visiting Professor
                          Elizabethtown Lectureship
                          Penn State College of Medicine
                          2015

                          Visiting Professor
                          Akron Children’s Hospital
                          Akron, Ohio
                          2014

                          Mehlman CT. – Keynote Speaker
                          British Society for Children’s Orthopaedic Surgery
                          2014 Annual Meeting
                          Chairman: Two Debates
                          Pediatric Plytrauma Update
                          Tricky Tibial Fractures
                          Aberdeen, Scotland
                          June 13-14, 2014

                          Mehlman CT. – International Guest Speaker
                          St. Bartholomew’s Hospital, London
                          Paediatric Polytrauma – Navigating Gator Country,
                          Adolescent Idiopathic Scoliosis: Do We Have an Effective
                          Non-Operative Treatment?
                          Spondylolysis & Spondylolisthesis in Children & Adolescents
                          London
                          June 18, 2013




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                        Curriculum Vitae Continued



                          Mehlman CT. – Keynote Speaker
                          Pediatric Trauma Summit
                          Regions Hospital
                          University of Minnesota
                          St. Paul, Minnesota
                          November 1-2, 2013

                          Michigan State University College of Osteopathic Medicine
                          Orthopedic Surgery Educational Day - “Pediatrics”
                          Moderator: Mehlman CT
                          Pediatric Polytrauma: Navigating Gator Country
                          The Difficult Pediatric Supracondylar Humeral Fracture
                          Troy, Michigan
                          September 11, 2013

                          Mehlman CT. – Visiting Professor
                          Grand Rounds Presentation
                          Nova Southeastern University
                          Broward Health Medical Center
                          Ft. Lauderdale, Florida
                          January 31-February 1, 2013

                          Mehlman CT.
                          Orthopedic Presentation
                          Ohio University
                          St. Vincent Medical Center
                          Toledo, Ohio
                          May 10, 2013

                          Mehlman CT
                          Michigan State University
                          College of Osteopathic Medicine
                          Michigan State University
                          2012

                          Mehlman CT. – Visiting Professor
                          Philadelphia Ortho Society - Howard Steel Lecture
                          The 3 T’s of Pediatric Fractures: Tachdijan, Tillaux and
                          Triplane
                          Forearm Fractures
                          September 12, 2011




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                       Curriculum Vitae Continued



                          Mehlman CT. – Visiting Professor
                          Pediatric Polytrauma
                          Michigan State University College of Osteopathic Medicine
                          Hosted by Danny Morrison
                          Troy, Michigan
                          September 21, 2011

                          Mehlman CT. – Visiting Professor
                          Supracondylar Humeral Fractures in Children: The
                          M.A.I.N. Things You Wish to Avoid
                          Clavicle Shaft Fractures in Kids: Who Needs Surgery,
                          Who Needs a Sling?
                          Michigan State University College of Osteopathic Medicine
                          Hosted by Danny Morrison
                          Troy, Michigan
                          November 10, 2010

                          Mehlman CT. – Visiting Professor
                          Neonatal Brachial Plexus Palsy: You’ve Come a Long Way
                          Baby
                          University of North Carolina
                          Hosted by Steven Frick
                          Carolina’s Medical Center
                          Charlotte, North Carolina
                          September 27, 2010

                          Mehlman CT. – Visiting Professor
                          The Consequences of Crooked and the Story on Stiffness:
                          Forearm Shaft Fractures in Children
                          Richard E. Lindseth Lectureship
                          Indiana University School of Medicine
                          Indianapolis, Indiana
                          November 21, 2008

                          Mehlman CT. – Visiting Professor
                          CORE System, Orthopedic RPAC Educational Day program
                          Ohio University College of Osteopathic Medicine
                          “Fractures/Dislocated Hip & Fractures of the Knee”
                          Toledo, Ohio
                          May 9, 2008




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                       Curriculum Vitae Continued



                          Mehlman CT.
                          “China Orthopaedic Trip”
                          “Fracture of the Shaft: Forearm”
                          “Fracture of the Shaft: Femur”
                          Michigan State University
                          Troy, Michigan
                          November 8, 2006

                          Mehlman CT. – Visiting Professor
                          “Neonatal Brachial Plexus Injury: You’ve Come a Long Way
                          Baby”
                          Southern Illinois University School of Medicine – Hosted
                          by Keith Gabriel
                          Springfield, Illinois
                          June 13, 2005

                          Mehlman CT. – Visiting Professor
                          “Idiopathic Scoliosis – An Evidence Based Approach”
                          “Congenital and Neuromuscular Scoliosis”
                          “Spondylolisthesis in Children and Adolescents”
                          Ohio University College of Osteopathic Medicine/CORE
                          Dayton, Ohio
                          February 13,2004

                          Mehlman CT. – Visiting Professor
                          “Complex Fracture of Pediatric Shoulder and Elbow” and
                          “Pediatric Shoulder: Sports Injury”
                          Ohio University College of Osteopathic Medicine/CORE
                          Columbus, Ohio
                          December 12, 2003

                          Mehlman CT.
                          “Scoliosis: An Update for Those in the Trenches”
                          Tucson Osteopathic Medical Foundation
                          Tucson, Arizona
                          March 8, 2003

                          Mehlman CT. – Visiting Professor
                          “Stephen J. Bertisch Memorial Lecture: Shoulder & Elbow
                          Problems in the Pediatric Athlete”
                          6th Annual What’s New in Pediatric Orthopaedics
                          Albany Medical College, Division of Orthopedic Surgery
                          Albany, New York
                          October 31, 2003




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                       Curriculum Vitae Continued



                          Mehlman CT.
                          “Common Foot Deformities in Children” and
                          “Management of Femoral Shaft Fractures in Children”
                          Illinois Osteo Society
                          Chicago, Illinois
                          December 7, 2002

                          Mehlman CT.
                          ”Common shoulder injuries in children and adolescents” and
                          “Pediatric Foot and Ankle Injuries- the good, the bad, and
                          the ugly”
                          Ohio University College of Osteopathic Medicine/CORE
                          Emergency Medicine RPAC Educational Day
                          Columbus, Ohio
                          November 13, 2002

                          Mehlman CT.
                          “Spondylolysis & Spondylolisthesis: The Low Tech
                          Approach”
                          Orthopedic RPAC Educational Day
                          Ohio State U, Dept. of Orthopaedic Surgery
                          Columbus, Ohio
                          September 9, 2000

                          Mehlman CT. – Visiting Professor
                          Scoliosis: An Overview
                          Spondylolysis and Spondylolisthesis in Children
                          COGMET
                          Michigan State University College of Osteopathic Medicine
                          Deptarment. of Orthopaedic Surgery
                          East Lansing, Michigan
                          December 8, 1999
                          Mehlman CT.
                          “Femoral Shaft Fractures in Children: Options and
                          Outcomes”
                          Grand Rounds
                          University of Louisville
                          Louisville, Kentucky
                          February 17, 1998




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                          Mehlman CT. - Visiting Professor
                          Clinical Effectiveness vs Clinical Defectiveness: What is
                          Orthopaedic Outcomes Research All About?
                          Wright State University
                          Department of Orthopaedics
                          Dayton, Ohio
                          April 30, 1997

                          Mehlman CT. - OU-COM, Visiting Professor
                          “Pediatric Elbow Fxs: The Good, Bad, & Ugly”.
                          Orthopaedic Surgery Residency CORE meeting
                          Columbus, Ohio
                          January 10, 1997

                          Mehlman CT.- OU-COM, Visiting Professor
                          “Forearm Fractures in Children.”
                          Orthopaedic Surgery Residency CORE Meeting
                          Columbus, Ohio
                          January 10, 1997



   NATIONAL               Pediatric Trauma Society Membership Committee 2015
   COMMITTEES/
   NATIONAL TASK
   FORCES



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                          American Academy of Orthopaedic Surgeons (AAOS)
                          Council of Musculoskeletal Specialty Societies
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                          June 2011 – Current

                          American Orthopaedic Association
                          CORD Web/Communications Committee
                          August 2011 – Current
                          American College of Surgeons
                          NSQIP Peds Committee
                          December 2010 – Current
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                          American Academy of Orthopaedic Surgeons (AAOS)
                           Guideline on Pediatric Diaphyseal Femur Fractures Task
                          Force (16 members) Chairperson – Mininder S. Kocher, MD,   AAOS
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                          MPH                                                        ORTHOPAEDIC SURGEONS


                          Member - March 2008 – June 2009

                          Scoliosis Research Society
                          Global Outreach Committee, Chair – August 2008 - Current
                          Long Range Planning Committee, Member – August 2008 –
                          Current
                          Awards & Scholarship Committee, Member – August 2008 –
                          Current
                          Worldwide Course Committee, Member – August 2008 –
                          Current

                          Pediatric Orthopaedic Society of North America (POSNA)
                          Bylaws Committee, Member – August 2008 - Current           P (l)SNA


                          Ohio University College of Osteopathic Medicine Alumni
                          Board – November 2006 - Current




                          American Osteopathic Academy of Orthopedics Board of
                          Directors – August 2008 – October 2011




                          U.S. News and World Report Pediatric Orthopedic (focus
                          on surgery) Expert Panel
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   AO/ASIF AND       OTA Comprehensive Fracture Course For Residents 2.0
   OTA TRAUMA        04/16/14 – 04/19/14 Pediatric Trauma Faculty Member
   CONTINUING        Lombard, Illinois                                                Compreh ensive

   MEDICAL EDUCATION
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                          OTA Comprehensive Fracture Course For Residents 2.0
                          04/10/13 – 04/10/13 Pediatric Trauma Faculty Member
                          Lombard, Illinois




                          OTA Comprehensive Fracture Course For Residents 2.0
                          04/25/12 – 04/28/12 Pediatric Trauma Faculty Member
                          Lombard, Illinois



                          OTA Comprehensive Fracture Course For Residents 2.0
                          04/28/11 – 04/30/11, Pediatric Trauma Faculty Member
                          Schaumberg, Illinois



                          AO Principles of Fracture Management Course, Minneapolis,
                          MN
                          8/19/04 – 8/22/04, Faculty Member



                          AO Basic Operating Room Personnel Course, Cincinnati, OH
                          4/20/04 – 4/21/04 Co-Chair/Presenter




                          AO North America Orthopaedic Faculty 1/10/2003 –
                          Present
                          AO Basic Operating Room Personnel Course, Dayton, OH
                          4/26/2002 Course #02C2010 Faculty Member

                          AO Basic & Advanced Operating Room Personnel Course,
                          Cincinnati, OH 11/20/1998 Course # 98C5062, Faculty
                          Member




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                          AO Advanced Course, Sun Valley, ID 3/26/1995 #95C0902
                          North American AO Center, Orthopaedic Trauma Services
                                                                                       J;; AOTRAUMA
                          4/1994-6/1994
                          Tampa General Hospital, Tampa, FL

                          AO Basic Course, Toronto Basic & Advanced Course, ON
                          2/1/1992 #92CAN01




                          North American AO Center, Orthopaedic Trauma Services,
                          September, 1990 Tampa General Hospital, Tampa, FL
                                                                                       J/J AOTRAUMA

   JOURNAL EDITORIAL Associate Board Member
   SERVICE           Journal of Orthopaedic Trauma
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                          Pediatric Section Editor                                       -----
                          Journal of Orthopaedic Trauma                                  •...--
                          2017 - present

                          International Editorial Board Member
                          Journal of Children’s Orthopaedics 2007 – present




                          Associate Board Member
                          The Spine Journal: Official Journal of the North American
                          Spine Society
                          2002 - present




                          Member, Editorial Review Board
                          Orthopaedic Surgery for eMedicine
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                          2001 – present




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                           Editorial Board
                           Journal of Pediatric Orthopedics
                           2015-present

                           Consultant Reviewer
                           Journal of Pediatric Orthopedics
                           2001 – 2015

                           Member, Manuscript Review Board – Lippincott Raven,
                           The Journal of Trauma
                           1998 – present




                           Member, Manuscript Review Board
                           Journal of Joint and Bone Surgery




                           Vice-Chairman, Editorial Review Board
                           The Orthopod: The Journal of the American Osteopathic
                           Academy of Orthopaedics
                           1998 – 2011




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   REVIEWED
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                          Unicolumnar Pin Fixation of Type III Supracondylar
                          Humeral Fractures is Associated with Nearly Four Times
                          Higher Odds of Lost Reduction
                          AAOS–Trauma Poster Session 1
                          Orlando FL
                          March 23-28 2020

                          Poster Presentation
                          Mehlman CT, Parikh SN, Ames T, Toy R
                          Comparative Effectiveness of Nonoperative Versus
                          Operative Treatment for Completely Displaced Clavicle
                          Shaft Fractures in Children
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                          Charlotte, North Carolina
                          May 15-18, 2019




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                          Mehlman CT
                          The Wisdom of Teams: The Evolution of Orthopaedic
                          Surgical Care
                          Pearls & Pitfalls in Pediatric Orthopaedic Trauma: The
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                          Atlanta, GA
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                          Fractures: Twice as Common in Females and High Rate of
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                          Austin, TX
                          May 9-12, 2018

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                          Modified Waldenstrom Classification Less than II-B
                          Associated with Better Surgical Results in Severe Legg-
                          Clave-Perthes Disease
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                          Surgeons
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                          Paper Presentation
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                          Roehrich J, Mehlman CT, Ying J
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                          IMAST
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                          Mehlman CT, Marcotte M, Lippert W, Sadow E, Louden E
                          Antepartum and intrapartum factors associated with
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                          Mehlman CT, Marcotte M, Sadow E, Cola K, Lippert W,
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                          Paper presentation #690
                          Pierce T, Mehlman CT, Tamai J, Skaggs DL
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                          Foad SL, Schnell B, Salisbury S
                          EMG and MRI are Independently Related to Shoulder
                          External Rotation Function in Neonatal Brachial Plexus
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                          February 18, 2011

                          Podium 169
                          Daugherty M, LeMaster T, Moody S, Mehlman CT, Falcone
                          RA Jr
                          Significant Rate of Misuse of the Hare Traction Splint in
                          Pediatric Trauma
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                          San Diego, California
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                          Paper Presentation
                          Matey III DA, Mehlman CT, Reinersman AC
                          Remodeling Potential of Completely Displaced Pediatric
                          Clavicle Shaft Fractures People
                          2011 AAOS Annual Meeting
                          San Diego, California
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                          Michaud L, Mehlman CT, Foad SL.
                          Botox as an Adjunct to the Non-Operative Treatment of
                          Muscle Imbalance in Neonatal Brachial Plexus Palsy: A
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                          Increasing the impact: Characteristics associated with
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                          MB, Wade SL, Kinnett DG, Bean, JA
                          The Predictive Value of Electrodiagnostic Findings in Birth
                          Brachial Plexus Palsy
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                          2010 Annual Meeting
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                          Podium Presentation
                          DeVoe WB, Mehlman CT, Michaud LJ, Lippert WC,
                          Allgier A
                          Arthroscopic Sever-L Episcopo Procedure for the
                          Treatment of Internal Rotation Contractures of the
                          Shoulder in Neonatal Brachial Plexus Palsy: Clinical and
                          Radiographic Outcomes
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                          Talbert R, Mehlman CT, Michaud LJ, Kinnett DG, Laor T,
                          Foad SL
                          Do EMG Characteristics Correlate with MRI Findings in
                          children with Neonatal Brachial Plexus Palsy?
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                          2010 Annual Meeting
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                          Podium Presentation
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                          Allgier A
                          Arthroscopic Sever-L Episcopo Procedure for the
                          Treatment of Internal Rotation Contractures of the
                          Shoulder in Neonatal Brachial Plexus Palsy: Clinical and
                          Radiographic Outcomes
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                          Poster Presentation
                          Bosques G, Bean JA, Foad Mb, Kinnett DG, Mehlman CT,
                          Michaud LJ, Wade S, Yakuboff KP
                          The Use of Electrodiagnosis in Operative Decision-Making
                          for Early Plexus Reconstruction in Birth Brachial Plexus
                          Palsy
                          American Academy of Physical Medicine and Rehabilitation
                          70th Annual Assembly
                          Austin, Texas
                          October 22–24, 2009

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                          Chan W, Gammon SR, Mehlman CT, Wall EJ
                          A Comparison of TLSO and SPINECOR Treatment of
                          Adolescent Idiopathic Scoliosis Patients Using the SRS
                          Standardized Criteria
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                          Boston, Massachusetts
                          April 30, 2009

                          Poster Presentation
                          Mehlman CT, Ying J, Kirby CL.
                          Hospital Costs Associated with Surgical Treatment of
                          Idiopathic Scoliosis
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                          Boston, Massachusetts
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                          Poster Presentation
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                          Treatment of Spondylolysis and Grade I Spondylolisthesis
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                          Lisbon, Portugal
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                          Mehlman CT, Gammon S, Chan W
                          A Retrospective Review of TLSO and SpineCor Orthosis in
                          the Treatment of Adolescent Idiopathic Scoliosis
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                          Paper Presentation
                          Mehlman CT, White L, Crawford AH. Pulseless and
                          Puzzling, Vascular Injuries in Supracondylar Humeral
                          Fractures in Children: A Meta-Analysis of Observational
                          Studies and Results of a POSNA Membership Survey
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                          Lisbon, Portugal
                          April 1–4, 2009

                          Paper Presentation
                          White L, Mehlman CT, Crawford AH
                          Pulseless and Puzzling Vascular Injuries in Supracondylar
                          Humeral Fractures in Children: a Meta-Analysis of
                          Observational Studies and Results of a POSNA
                          Membership Survey
                          2009 Annual American Academy of Orthopaedic Surgeons
                          Las Vegas, Nevada
                          February 25-28, 2009

                          Paper Presentation
                          Mehlman CT
                          Hospital Costs Associated with Surgical Treatment of AI
                          Scoliosis Research Society 43rd Annual Meeting
                          Salt Lake City, Utah
                          September 10-13, 2008




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                          Volumetric Damage of the Femoral Physis During Double
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                          Pediatric Orthopaedic Society of North America
                          2008 Annual Meeting
                          Albuquerque, New Mexico
                          April 30–May 3, 2008

                          Paper Presentation
                          Mehlman CT.
                          Update on the Management of Neonatal Brachial Plexus
                          Palsy
                          Congenital Scoliosis
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                          Dubai, UAE
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                          Plating for Comminuted Pediatric Femoral Shaft Fractures.
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                          Hollywood, Florida
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                          e-Poster #26
                          Mehlman CT
                          Forearm Stiffness Following Forearm Shaft Fractures in
                          Children: A Meta-Analysis of Operative Versus Non
                          Operative Treatment
                          2007 Pediatric Orthopaedic Society of North America
                          Annual Meeting
                          Hollywood, Florida
                          May 24–26, 2007

                          e-Poster #40
                          Mehlman CT
                          Neonatal Brachial Plexus Palsy Incidence and Risk Factor
                          Analysis from a United States National Database
                          2007 Pediatric Orthopaedic Society of North America
                          Annual Meeting
                          Hollywood, Florida
                          May 24–26, 2007



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                          Mehlman CT
                          Elastic Stable Intramedullary Nailing of Tibial Shaft
                          Fractures in children
                          2007 Pediatric Orthopaedic Society of North America
                          Annual Meeting
                          Hollywood, Florida
                          May 24–26, 2007

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                          Mehlman CT, Greiwe M, Wall EJ, Crawford AH.
                          Stiffness in displaced pediatric both-bone forearm
                          fractures.
                          2007 European Pediatric Orthopaedic Society
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                          April 10-14, 2007

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                          Mehlman CT
                          Neonatal Brachial Plexus Palsy – incidence and Risk Factor
                          Analysis from a United States National Database
                          2007 European Pediatric Orthopaedic Society
                          Sorrento, Italy
                          April 10–14, 2007

                          Paper Presentation
                          Mehlman CT, McDonald N, Glos DL, Bylski-Austrow D.
                          Flexible Nail Fixation of Distal Third Femur Fractures:
                          Antegrade vs Retrograde Insertion Affects Construct
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                          Annual Meeting
                          San Diego, California
                          May 3–6, 2006

                          Poster Presentation
                          Mehlman CT, Shinde A, Collins MH
                          Aneurysmal Bone Cysts Express Vascular Markers
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                          Annual Meeting
                          San Diego, California
                          May 3–6, 2006




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                          e-Poster
                          Mehlman CT
                          The reliability of Cobb Angle Measurements using the
                          Digital Picture Archiving and Communication (PACS) vs
                          Manual Measurements
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                          Annual Meeting
                          San Diego, California
                          May 3–6, 2006

                          e-Poster
                          Mehlman CT
                          Spine Abnormalities in Rubinstein-Taybi Syndrome
                          2006 Pediatric Orthopaedic Society of North America
                          Annual Meeting
                          San Diego, California
                          May 3–6, 2006

                          Paper Presentation
                          Foad S, Mehlman CT, Wall EJ
                          Patients who’ve been told they have scoliosis score the
                          same on the SRS-22 as scoliosis patients
                          25th Annual European Pediatric Orthopedic Society
                          Dresden, Germany
                          April 4-9, 2006

                          Paper Presentation
                          Moon ES, Mehlman CT
                          Risk factors for avascular necrosis following femoral neck
                          fractures in children: A meta-analysis of 360 patients
                          25th Annual European Pediatric Orthopedic Society
                          Dresden, Germany
                          April 4-9, 2006

                          Paper Presentation
                          McDonald N, Mehlman CT, Byslki-Austrow D, Glos D
                          Nail fixation of distal third paediatric femur fractures:
                          Insertion approach affects stiffness
                          25th Annual European Pediatric Orthopedic Society
                          Dresden, Germany
                          April 4-9, 2006




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                       Curriculum Vitae Continued



                          Paper Presentation
                          McDonald N, Mehlman CT, Bylski-Austrow D, Glos D. Nail
                          Fixation of Distal Third Pediatric Femoral Shaft
                          Fractures: Retrograde Insertion Increases Stiffness in
                          Bending but Not Axial Torsion
                          Instruction Course Lecture. The Difficult Pediatric
                          Supracondylar Humerus Fracture: Tips and Techniques to
                          Avoid Complications
                          73rd Annual Meeting of the American Academy of
                          Orthopedic Surgeons
                          Chicago, Illinois
                          March 22-26, 2006

                          Paper Presentation
                          Standoli F, Barton B, Jonah D, Dennision R, Mehlman CT,
                          Koptis SE. Effectiveness of Bracing for Thoracolumbar
                          Kyphosis in Achondroplasia
                          40th Annual Meeting Scoliosis Research Society: The
                          Immature Spine and Adult Spinal Deformity
                          Miami, Florida
                          October 27-30, 2005

                          Poster Presentation
                          Mehlman CT, Wall EJ, Foad SL. Patients Who’ve Been Told
                          They Have Scoliosis Score the Same on the SRS-22 as
                          Scoliosis Patients Requiring Treatment
                          40th Annual Meeting Scoliosis Research Society
                          Miami, Florida
                          October 27 – 30, 2005

                          Paper Presentation
                          Mehlman CT.
                          Orthopaedic Brachial Plexus Injury
                          2005 Annual Clinical Assembly of Osteopathic Specialists
                          Orlando, Florida
                          October 22-25, 2005

                          Paper Presentation
                          Standoli F, Barton B, Johah D, Dennison R, Mehlman CT,
                          Kopits SE
                          Effectiveness of Bracing for Thoracolumbar Kyphosis in
                          Achondroplasia
                          2005 Annual Meeting of the Spine Society of Europe
                          Barcelona, Spain
                          September 21–24, 2005




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                        Curriculum Vitae Continued



                          Paper Presentation
                          Mehlman CT, Wall EJ, Foad SL
                          Patients Who’ve Been Told They Have Scoliosis Score the
                          Same on the SRS-22 as Scoliosis Patients Requiring
                          Treatment
                          2005 Annual Meeting of the Spine Society of Europe
                          Barcelona, Spain
                          September 21–24, 2005

                          Paper Presentation
                          Bhatt T, Mehlman CT, Foad SL, Crawford AH
                          Weight > 99 Pounds (45kg) and Age > 12 Years Predict
                          Malunion Following Elastic Stable Intramedullary Nailing
                          (Nancy Nailing) of Femoral Shaft Fractures in Children
                          24th Annual Meeting European Pediatric Orthopaedic
                          Society
                          Palma de Mallorca, Spain
                          April 6–9, 2005

                          Paper Presentation
                          Mehlman CT
                          Instructional Course Lecture 315 “The Difficult Pediatric
                          Supracondylar Humerus Fracture: Tips and Techniques to
                          Avoid Complications”
                          American Academy of Orthopaedic Surgeons
                          72nd Annual Meeting
                          Washington, DC
                          March 9–14, 2005

                          Poster Presentation
                          Bhatt T, Mehlman CT, Foad SL, Crawford AH.
                          Weight > 99 Pounds (45kg) and Age > 12 Years Predict
                          Malunion Following Elastic Stable Intramedullary Nailing
                          (Nancy Nailing) of Femoral Shaft Fractures in Children
                          American Academy of Orthopedic Surgeons Annual
                          Meeting
                          Washington, DC
                          February 24 – 27, 2005




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                       Curriculum Vitae Continued



                          Poster Presentation
                          Mehlman CT, Lee, T, Foad SL
                          The Reliability of cobb angle Measurements Using the
                          Digital Picture Archiving and Communication (PACS) Versus
                          Manual Measurements
                          2004 Scoliosis Research Society Annual Meeting
                          Buenos Aires, Argentina
                          September 5–September 9, 2004

                          Paper Presentation
                          Mehlman CT, Wall EJ, Foad SL
                          Patients Who’ve Been Told They Have Scoliosis Score the
                          Same on the SRS-22 as Scoliosis Patients Requiring
                          Treatment
                          2004 International Meeting on Advanced Spine Techniques
                          Fairmont Southampton, Bermuda
                          July 1–3, 2004

                          Paper Presentation
                          Mehlman CT, Lee, T, Foad SL
                          The Reliability of Cobb angle Measurements Using the
                          Digital Picture Archiving and Communication (PACS) Versus
                          Manual Measurements
                          2004 International Meeting on Advanced Spine Techniques
                          Fairmont Southampton, Bermuda
                          July 1–3, 2004

                          Paper Presentation
                          Mehlman CT, Alsayyad MJ, Crawford AH
                          Effectiveness of Spinal Release and Halo-Femoral Traction
                          in the Management of Severe Spinal Deformity
                          2004 SpineWeek/Eurospine
                          Porto, Portugal
                          May 30–June 7, 2004

                          Poster Presentation
                          Mehlman CT, Crawford AH, Kelty PJ
                          Surgical Treatment of Spondylolisthesis in Children and
                          Adolescents
                          2004 SpineWeek/Eurospine
                          Porto, Portugal
                          May 30–June 5, 2004




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                       Curriculum Vitae Continued



                          Poster Presentation
                          Mehlman CT, Wall EJ, Foad S
                          Patients Who’ve Been Told They Have Scoliosis Score The
                          Same on The SRS-22 as Scoliosis Patients Requiring
                          Treatment
                          2004 SpineWeek/Eurospine
                          Porto, Portugal
                          May 30–June 5, 2004

                          Poster Presentation
                          Mehlman CT, Balasa VV, Gruppo RA, Pillow A, Becker A,
                          Stroop D, Glueck
                          CJ, Roy D, Wall EJ, Crawford AH
                          Legg-Perthes Disease and Thrombophilia
                          2004 Annual Meeting Pediatric Orthopaedic Society of
                          North America
                          St. Louis, Missouri
                          April 27–May 1, 2004

                          Poster Presentation
                          Mehlman CT, Moon E, Foad SL
                          Femoral Neck Fractures in Children: 20 Cincinnati Cases &
                          Meta-Analysis of 333 Cases
                          2004 Annual Meeting Pediatric Orthopaedic Society of
                          North America
                          St. Louis, Missouri
                          April 27–May 1, 2004

                          Poster Presentation
                          Al-Sayyad MJ, Mehlman CT, Crawford AH.
                          Effectiveness of Spinal Release and Halo-Femoral Traction
                          in the Management of Severe Spinal Deformity.
                          24th Meeting European Paediatric Orthopaedic Society
                          March 31–April 3, 2004

                          Poster Presentation
                          Kelty PJ, Crawford AH, Mehlman CT.
                          Surgical Treatment of Spondylolisthesis in Children and
                          Adolescents.
                          24th Meeting European Paediatric Orthopaedic Society
                          March 31–April 3, 2004




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Case 2:21-cv-09264-MCA-JSA Document 3-5 Filed 04/14/21 Page 73 of 112 PageID: 350
  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                       Curriculum Vitae Continued



                          Paper Presentation
                          Mehlman CT, Wall EJ, Foad SL.
                          Patients Who’ve Been Told They Have Scoliosis Score the
                          Same on the SRS-22 as Scoliosis Patients Requiring
                          Treatment
                          24th Meeting European Paediatric Orthopaedic Society
                          Geneva, Switzerland
                          March 31–April 3, 2004

                          Paper Presentation
                          Mehlman CT, Balasa VV, Gruppo RA, Pillow A, Becker A,
                          Stroop D, Gluek CJ, Wang P, Roy D, Wall EJ, Crawford AH.
                          Legg-Perthes Disease and Thrombophilia
                          POSNA Specialty Day
                          71st Annual Meeting of the American Academy of
                          Orthopaedic Surgeons
                          San Francisco, California
                          March 10–13, 2004

                          Paper Presentation
                          Mehlman CT, Moon E, Foad SL.
                          Femoral Neck Fractures in Children: 20 Cincinnati Cases &
                          Meta-analysis of 33 Cases
                          POSNA Specialty Day
                          71st Annual Meeting of the American Academy of
                          Orthopaedic Surgeons
                          San Francisco, California
                          March 10–13, 2004

                          Paper Presentation
                          Mehlman CT, Balasa VV, Gruppo RA, Pillow A, Becker A,
                          Stroop D, Gluek CJ, Wang P, Roy D, Wall EJ, Crawford AH.
                          Legg-Perthes Disease and Thrombophilia
                          Instructional Course Lecture #172
                          The Difficult Pediatric Supracondylar Humerus Fracture:
                          Tips and tricks to avoid complications
                          71st Annual Meeting of the American Academy of
                          Orthopaedic Surgeons
                          San Francisco, California
                          March 10–13, 2004




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                       Curriculum Vitae Continued



                          Paper Presentation
                          Mehlman CT. Snakes in the Grass, Bad Actors, and Gator
                          Country: Fracture Complications in Kids and My Kid’s Leg
                          Looks Funny: Lower Extremity Problems in Children and
                          Scoliosis: That Which is Crooked Can Be Made Straight
                          American Osteopathic Academy of Orthopedics
                          Chicago, Illinois
                          September 18-21, 2003

                          Paper Presentation
                          Parikh SN, Crawford AH
                          Orthopedic Implication in the Management of Pediatric
                          Vertebral or Spinal Cord Tumors – A Retrospective Review
                          World Spine II: Second Interdisciplinary Congress on
                          Spine Care
                          Chicago, Illinois
                          August 11, 2003

                          Paper Presentation
                          Crawford AH, Mohammed A
                          Defining The Learning Curve of Video Assisted
                          Thoracoscopic Surgery (VATS): The First Hundred Cases.
                          World Spine II: Second Interdisciplinary Congress on
                          Spine Care
                          Chicago, Illinois
                          August 11, 2003

                          Paper Presentation
                          Mehlman CT, Kelty PJ, Crawford AH.
                          Emergency Surgery for Open Fractures and Type III
                          Supracondylars.
                          Pediatric Orthopaedic Society Of North America
                          Amelia Island, Florida
                          May 1, 2003

                          Paper Presentation
                          Kelty P, Mehlman CT
                          Spondylolysis and Spondylolisthesis in Children:
                          Effectiveness of Operative and Nonoperative Treatment
                          and Bailey GM, Mehlman CT, Rubinstein JH
                          Pediatric Hip Disorders Associated with Rubinstein-Taybi
                          Syndrome.
                          70th American Academy of Orthopedic Surgeons
                          New Orleans, Louisiana
                          February 4-9, 2003




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Case 2:21-cv-09264-MCA-JSA Document 3-5 Filed 04/14/21 Page 75 of 112 PageID: 352
  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                        Curriculum Vitae Continued



                          Paper Presentation
                          Mehlman CT, Hoenninger D, Rubinstein JH, Winter R.
                          Spine Abnormalities in Rubinstein-Taybi Syndrome and
                          Mehlman CT, Epps H. Pearls and Pitfalls: Children’s
                          Fractures (audience response case discussion)
                          American Academy of Pediatrics National Conference &
                          Exhibition
                          Boston, Massachusetts
                          October 19-23, 2002
                          Paper Presentation
                          Mehlman CT, Koepplinger ME, Brown, RL, Gittelman M,
                          Garcia V.
                          All Terrain Vehicle-Related Injuries in Children: A Nine
                          Year Epidemiological Study & Comparison to Bicycle-
                          Related Trauma.
                          Pediatric Orthopaedic Society of North America
                          Salt Lake City, Utah
                          May 3-5, 2002

                          Paper Presentation
                          Foad S, Mehlman CT, et al.
                          Undisplaced Fractures of the Distal Radius in Children-Risk
                          Factors for Displacement.
                          69th Annual Meeting of the American Academy of
                          Orthopaedic Surgeons.
                          Dallas, Texas
                          February 13-17, 2002

                          Poster Presentation
                          Mehlman CT, Kelty PJ, Crawford AH.
                          Surgical Treatment of Spondylolisthesis in Children and
                          Adolescents.
                          69th Annual Meeting of the American Academy of
                          Orthopaedic Surgeons.
                          Dallas, Texas
                          January 13-17, 2002

                          Poster Presentation
                          Schweer L, Garcia VF, Bivens K, Cook B, McCain, Mehlman
                          CT, et al.
                          Impact of Hospitalization on Quality of Life for Preteen
                          and Adolescent Children and Their Parents. Poster
                          Presentation: Mobilizing for a Safe USA. A Leadership
                          Conference to Reduce Violence and Injury in America.
                          Atlanta, Georgia
                          December 3-5, 2001



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                          Paper Presentation
                          Kelty PJ, Crawford AH, Mehlman CT. Surgical Treatment
                          of Spondylolisthesis in Children and Adolescents
                          Scoliosis Research Society 36th Annual Meeting
                          Cleveland, Ohio
                          September 19-22, 2001

                          Poster Presentation
                          Mehlman CT, Al-Sayyad MJ, Crawford AH.
                          Effectiveness of Spinal Release and Halo-Femoral Traction
                          in the Management of Severe Spinal Deformity.
                          2001 Annual Meeting Scoliosis Research Society
                          Cleveland, Ohio
                          September 18-22, 2001

                          Poster Presentation
                          Mehlman CT, Kelty PJ, Crawford AH.
                          Surgical Treatment of Spondylolisthesis in Children and
                          Adolescents.
                          3rd Annual Eurospine Meeting
                          Gothenburg, Sweden
                          September 4-8, 2001

                          Paper Presentation
                          Mehlman CT, O’Brien MS.
                          Irreducible Fracture of the Distal Radius in Children: Non-
                          operative Management.
                          2001 Annual Meeting Pediatric Orthopaedic Society of
                          North America
                          Cancun, Mexico
                          May 3-5, 2001

                          Poster Presentation
                          Mehlman CT, Bailey GM, Rubinstein JH, Moens P, Nuzzo
                          RM.
                          Pediatric Hip Disorders Associated with Rubinstein-Taybi
                          Syndrome.
                          2001 Annual Meeting Pediatric Orthopaedic Society of
                          North America
                          Cancun, Mexico
                          May 3-5, 2001




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                      Curriculum Vitae Continued



                          Paper Presentation
                          Mehlman CT, Wall EJ, Olsen G.
                          Complications Associated with the Use of Meniscal Arrows
                          in Children.
                          2001 Meeting European Pediatric Orthopaedic Society
                          Montpellier, France
                          April 5-7, 2001

                          Paper Presentation
                          Mehlman CT, O’Brien MS, Crawford AH, Roy DR, Wall EJ.
                          Irreducible Fractures of the Distal Radius in Children:
                          Non-Operative Management.
                          68th Annual American Academy of Orthopaedic Surgeons
                          San Francisco, California
                          February 28–March 4, 2001

                          Paper Presentation
                          Mehlman CT, Olsen G, Wall EJ.
                          Complications Associated With The Use of Meniscal
                          Arrows in Children and Adolescents
                          AANA Specialty Day
                          68th Annual American Academy of Orthopaedic Surgeons
                          San Francisco, California
                          February 28–March 4, 2001

                          Mehlman CT, Crawford AH, Rodway IP.
                          Video-Assisted Thoracoscopic Surgery in the Management
                          of Pediatric Spinal Deformity: Impact on Health Related
                          Quality of Life
                          Eurospine 2000
                          Antwerp, Belgium
                          October 11-14, 2000

                          Poster Presentation
                          Mehlman CT, Crawford AH, Sandercock D.
                          Effectiveness of Halo-Femoral Traction in the Management
                          of Severe Spinal Deformity.
                          Spine Across the Sea 2000
                          Japanese Spine Research Society/NASS
                          Waikoloa, Hawaii
                          July 23–27, 2000




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Case 2:21-cv-09264-MCA-JSA Document 3-5 Filed 04/14/21 Page 78 of 112 PageID: 355
  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                        Curriculum Vitae Continued



                          Poster Presentation
                          Mehlman CT, Strub WM, Crawford AH, Roy, DR, Wall EJ
                          Displaced Supracondylar Humeral Fractures in Children:
                          Does the Timing of Surgery Make a Difference?
                          2000 Pediatric Orthopaedic Society of North America
                          meeting
                          Vancouver, British Columbia, Canada
                          May 1–4, 2000

                          Poster Presentation
                          Mehlman CT, Robbins AC, Shepherd M, Selin M
                          Bilateral Lower Limb Deficiencies in Association with Prune
                          Belly Syndrome: A 12-year Progress Report
                          2000 Annual meeting Association of Children’s Prosthetic-
                          Orthotic Clinics
                          Banff, Alberta, Canada
                          April 26–29, 2000

                          Poster Presentation
                          Mehlman CT, Strub WM, Crawford AH, Roy, DR, Wall EJ
                          Displaced Supracondylar Humeral Fractures in Children:
                          Does the Timing of Surgery Make a Difference?
                          67th Annual American Academy of Orthopaedic Surgeons
                          Orlando, Florida
                          March 15–19, 2000

                          Poster Presentation
                          Mehlman CT, Strub WM, Todd LT
                          Talar Neck Fractures in Children: Epidemiology and Clinical
                          Outcomes in Fifteen Patients
                          67th Annual American Academy of Orthopaedic Surgeons
                          Orlando, Florida
                          March 15–19, 2000

                          Poster Presentation
                          Mehlman CT, Parker KC, Roy DR, Crawford AH, Wall EJ
                          Hinge Abduction and Joint Stiffness in Perthes Disease:
                          Effectiveness of Medial Soft Tissue Release and Petrie
                          Casting Followed by Femoral Head Containment
                          67th Annual American Academy of Orthopaedic Surgeons
                          Orlando, Florida
                          March 15–19, 2000




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                       Curriculum Vitae Continued



                          Paper Presentation
                          Mehlman CT, Crawford AH, Rodway IP.
                          Video-Assisted Thoracoscopic Surgery in the Management
                          of Pediatric Spinal Deformity: Impact on Health Related
                          Quality of Life
                          Eurospine 2000
                          Antwerp, Belgium
                          October 11-14, 2000

                          Poster Presentation
                          Scott KA, Mehlman CT, Koch BL, Garcia VF
                          Orthopaedic Injuries in Children Secondary to Airbag
                          Deployment:
                          A Report of Two Cases
                          American Osteopathic Academy Orthopaedics
                          Seattle, Washington
                          October 2–5, 1999

                          Poster Presentation
                          Mehlman CT, Roy DR, Crawford AH, Wall EJ, Parker KC
                          Hinge Abduction and Joint Stiffness in Perthes Disease:
                          Effectiveness of Medial Soft Tissue Release and Petrie
                          Casting Followed By Femoral Head Containment
                          Pediatric Orthopaedic Society of North America
                          Lake Buena Vista, Florida
                          May 15–19, 1999

                          Poster Presentation
                          Todd L, Strub W, Mehlman CT
                          Talus Fractures in Children
                          American Osteopathic Academy of Orthopedics
                          Chicago, Illinois
                          September 26-29, 1998

                          Poster Presentation
                          Todd L, Mehlman CT, Nymberg S.
                          Femoral Shaft Fractures In Children: Flexible Intra-
                          Medullary Nailing
                          American Osteopathic Academy of Orthopedics
                          Chicago, Illinois
                          September 26-29, 1998




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                       Curriculum Vitae Continued



                          Poster Presentation
                          Mehlman CT, Nowinski RJ.
                          Meta-Analysis of Outcomes Following Displaced
                          Supracondylar Humeral Fractures in Children’s Hospital
                          Orthopaedic Trauma Association 17th Annual Meeting
                          Louisville, Kentucky
                          October 17-19, 1997

                          Poster Presentation
                          Mehlman CT, Crawford AH, Wall EJ, Wolfe RK.
                          Anterior Spinal Release and Fusion for Pediatric Spinal
                          Deformity:
                          V.A.T.S. vs Thoracotomy. Pediatric Orthopaedic Society of
                          North America
                          Banff, Alberta (Canada)
                          May 15-17, 1997

                          Poster Presentation
                          Davis KR, Mehlman CT, Roy DR, Wall EJ, Crawford AH.
                          Treatment of Hinge Abduction and Joint Stiffness in
                          Perthes Disease by Medial Capsulotomy and Petrie Casting.
                          Pediatric Orthopaedic Society of North America
                          Banff, Alberta (Canada)
                          May 15-17, 1997

                          Paper Presentation
                          Wall EJ, Kolata RJ, Griffen MJ, Roy DR, Mehlman CT, et
                          al.
                          Endoscopic Pelvic Osteotomy: A Basic Science and Clinical
                          Study.
                          Pediatric Orthopaedic Society of North America.
                          Banff, Alberta (Canada)
                          May 15, 1997

                          Paper Presentation
                          Mehlman CT, Crawford AH, Wall EJ, Wolfe RK.
                          Video-Assisted Thoracoscopic Surgery: Perioperative
                          Parameters.
                          1996 Annual Meeting Pediatric Orthopaedic Society of
                          North America
                          Phoenix, Arizona,
                          May 12-15, 1996




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                       Curriculum Vitae Continued



                          Poster Presentation
                          Mehlman CT, Crawford AH, et al.
                          Complications Associated with Closed Reduction and
                          Percutaneous Pin Fixation of Displaced Supracondylar
                          Fractures of the Humerus in Children.
                          American Fracture Association 59th Annual Meeting
                          San Diego, California
                          April 10-13, 1997

                          Poster Presentation
                          Wall EJ, Roy DR, Lim EV, Mehlman CT, et al.
                          Endoscopic Pelvic Osteotomy: A Cadaver and Animal Study
                          American Academy of Orthopaedic Surgeons
                          San Francisco, California
                          February 13, 1997

                          Poster Presentation
                          Mehlman CT, Crawford AH, Wolfe RK.
                          Video-Assisted Thoracoscopic Surgery: Endoscopic
                          Thoracoplasty Technique.
                          Scoliosis Research Society
                          Ottawa, Ontario (Canada)
                          September 25-28, 1996

                          Poster Presentation
                          Mehlman CT, Crawford AH, Wall EJ, Wolfe RK.
                          Video-Assisted Thoracoscopic Surgery: Pediatric
                          Orthopaedic Applications.
                          Scoliosis Research Society
                          Ottawa, Ontario (Canada)
                          September 25-28, 1996

                          Poster Presentation
                          Wall EJ, Roy DR, Mehlman CT.
                          Endoscopic Pelvic Osteotomy.
                          Pediatric Orthopaedic Society of North America
                          Phoenix, Arizona
                          May 12-15, 1996




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                     Curriculum Vitae Continued



                          Poster Presentation
                          Mehlman CT, DiPasquale TG, Scheidler JS.
                          Radiation Exposure to the Orthopaedic Surgical Team:
                          How Far Away is Far Enough?
                          American Academy of Orthopaedic Surgeons 63rd Annual
                          Meeting
                          Atlanta, Georgia
                          February 26, 1996

                          Poster Presentation
                          Mehlman CT, Crawford AH.
                          Video-Assisted Thoracoscopic Surgery: Pediatric
                          Orthopaedic Applications.
                          Annual Clinical Assembly Osteopathic Specialists
                          New Orleans, Louisiana
                          September 1995
                          Poster Presentation
                          Klein G, Hussain N, Sprague S, Mehlman CT, Dogbey G,
                          Bhandari M. Characteristics of Highly Successful
                          Orthopaedic Surgeons: A Survey of Orthopaedic Chairs
                          and Editors

   OTHER INVITED       Mehlman CT – Journal of Orthopaedic Trauma-
   LECTURES and/or CME Peer Review
   PROGRAMS            Associations of Nonsteroidal Anti-Inflammatory Drug use
                       with Pediatric Fracture Healing
                       Wolters Kluwer – CME 3.0-AMA PRA 1 credit
                       February 26, 2020

                          Mehlman CT – Junior Examiner; Forman, ES Senior
                          Examiner
                          AOBOS 2019 Winter Clinical Exams
                          Part III Exams
                          Dallas, Texas
                          January 31-February 1, 2019

                          Mehlman CT – Junior Examiner; Triana ME - Senior
                          Examiner
                          AOBOS 2019 Winter Clinical Exams
                          Part III Exams
                          St. Paul, Minnesota
                          February 24-24, 2019




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                       Curriculum Vitae Continued



                          Mehlman CT – Guest Speaker
                          International Perthes Study Group Annual Meeting
                          Legg Calve Perthes Disease: What You Should Know
                          Dallas, Texas
                          October 5-8, 2017

                          Michaud LJ, Louden EJ, Lippert WC, Allgier AJ, Foad SL,
                          Mehlman CT – Guest Speaker
                          Children’s Hospital Colorado Annual Orthopaedic Day
                          Conference
                          Pediatric Polytrauma: Navigating Gator Country
                          The Wisdom of Teams: The Evolution of Pediatric
                          Orthopaedic Surgical Care Delivery
                          Denver, Colorado
                          April 21, 2017

                          Mehlman CT – Guest Speaker
                          Urology Workshop
                          Bladder Exstrophy Complex: The Pediatric Orhopaedic
                          Perspective
                          Cincinnati Children’s Hospital Medical Center
                          March 9-12, 2017

                          Mehlman CT.
                          Michigan State University College of Osteopathic Medicine
                          Orthopedic Surgery Educational Day - “Pediatrics”
                          Moderator: Mehlman CT
                          Femoral Shaft Fractures in Children: Teenie Tinys, School
                          Age & Knuckleheads
                          Pediatric Forearm Fractures: The Consequences of Crooked
                          The 3 Most Common Elbow Fractures in Kids
                          Top 10 Differences Between Kids and Adults
                          Troy, Michigan
                          October 14, 2016

                          Mehlman CT – Guest Rotary Speaker
                          Covington Rotary Club
                          Common Sports Injuries in Children: The Power of the
                          Pediatric Skeleton.
                          Covington, Kentucky
                          August 9, 2016

                          Mehlman CT. – Guest Speaker
                          Wellspan York Orthopaedic Graduation
                          York, Pennsylvania
                          June 26, 2015



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                          Mehlman CT.
                          Ohio University Alumni Awards Gala
                          Guest Lecture For 1st And 2nd Year Medical Students
                          Pediatric Fractures
                          October 12, 2012
                          Mehlman CT.
                          Michigan State University College of Osteopathic Medicine
                          Orthopedic Surgery Educational Day - “Pediatrics”
                          Moderator: Fred Schreiber, DO
                          Spondylolysis & Spondylolisthesis: Back Pain in the
                          Pediatric Athlete.
                          What Works for Legg-Calve Perthes Disease.
                          Neonatal Brachial Plexus Plasy: You've Come A Long Way
                          Baby
                          Troy, Michigan
                          September 5, 2012

                          Mehlman CT.
                          Michigan Osteopathic Academy of Orthopaedic Surgeons
                          When Should I Operate on a Child’s Fracture (A Case-
                          Based Interactive Discussion)
                          Novi, Michigan
                          May 10, 2012

                          Mehlman CT.
                          AOAO Annual Meeting
                          The Importance and Evolution of Evidence-Based Medicine
                          In Pediatric Orthopedics
                          Pediatric Orthopedics and Health Care Reform
                          Chicago, Illinois
                          October 20-23, 2011

                          Mehlman CT.
                          University of Cincinnati Grand Rounds
                          Department of Orthopaedics
                          Pediatric Polytrauma
                          Cincinnati, Ohio
                          October 12, 2011

                          Mehlman CT.
                          Common Pediatric Fractures
                          Batesville Pediatrics CME Lecture
                          Batesville, Indiana
                          June 22, 2011




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                       Curriculum Vitae Continued



                          Mehlman CT.
                          Common Sports Injuries
                          Queen City Physicians CME Lecture
                          Cincinnati, Ohio
                          April 6, 2011

                          Mehlman CT.
                          Instructional Course Lecture #414
                          Challenges in the Management of Fractures in Adolescents
                          – A Case-Based Approach
                          2011 AAOS Annual Meeting, San Diego, California
                          February 18, 2011

                          Mehlman CT.
                          Instructional Course Lecture #247
                          The Difficult Pediatric Supracondylar Humerus Fracture:
                          Tips and Techniques to Avoid Complications
                          2011 AAOS Annual Meeting
                          San Diego, California
                          February 16, 2011

                          Mehlman CT.
                          Neonatal Brachial Plexus Palsy: An Evidence-Based
                          Treatment Approach
                          Richard E. Lindseth Lectureship
                          Indiana University’s School of Medicine
                          Indianapolis, Indiana
                          November 6, 2009

                          Mehlman CT.
                          Common Sports Injuries
                          Bethesda North Hospital CME Lecture
                          Cincinnati, Ohio
                          October 27, 2009

                          Mehlman CT.
                          Clavicle Shaft Fractures: Should We Treat Kids Like Little
                          Adults?
                          Comprehensive Children’s Injury Center (CCIC)
                          Cincinnati Children’s Hospital Medical Center
                          Cincinnati, Ohio
                          October 27, 2009




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                      Curriculum Vitae Continued



                          Mehlman CT.
                          Often Wrong, Never In Doubt
                          American Osteopathic Academy of Orthopedics Annual
                          Meeting
                          Boston, Massachusetts
                          October 8-11, 2009

                          Mehlman CT.
                          Common Sports Related Fractures in Children: Which
                          Fractures Do You Need to Worry About
                          Queen City Pediatrics CME Lecture
                          Cincinnati, Ohio
                          September 30, 2009

                          Mehlman CT.
                          Spondylolysis/Spondylolisthesis in Children and
                          Adolescents
                          Physical Medicine and Rehabilitation Department
                          Cincinnati Children’s Hospital Medical Center
                          Cincinnati, Ohio
                          March 2, 2009

                          Mehlman CT.
                          The Christ Hospital, Department of Obstetrics and
                          Gynecology
                          “Brachial Plexus Injury”
                          Cincinnati, Ohio
                          May 7, 2008

                          Mehlman CT.
                          Shanghai POSNA-COUR (Children’s Orthopaedics in
                          Underdeveloped Regions) Pediatric Orthopaedic Course
                          “Spine Fractures”
                          “Legg-Calve Perthes Disease”
                          “Congenital Scoliosis”
                          “VEPTR”
                          Shanghai Children’s Medical Center
                          Shanghai, China
                          October 10–14, 2007




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                        Curriculum Vitae Continued



                          Mehlman CT.
                          “So you think you know about forearm shaft fractures in
                          children?”
                          “Ankle fractures in children are different!”
                          Moderator: Pediatric Section
                          AOAO Postgraduate Seminar
                          Atlanta, Georgia
                          May 4–5, 2007

                          Mehlman CT.
                          “Neonatal Brachial Plexus palsy: You’ve Come a Long Way
                          Baby”
                          Fetal Care Center Grand Rounds
                          Cincinnati Children’s Hospital Medical Center
                          Cincinnati, Ohio
                          May 3, 2007

                          Mehlman CT.
                          “Neonatal Grand Rounds”
                          Neonatology & Pulmonary Biology Grand Rounds
                          Cincinnati Children’s Hospital Medical Center
                          Cincinnati, Ohio
                          March 23, 2007

                          Dunham RC, Mehlman CT, Foad SL
                          “Anterior Knee Pain in Children & Adolescents: Evaluation
                          and Treatment of Plica Syndrome”
                          High School and Collegiate Sports Medicine Conference
                          Cincinnati, Ohio
                          June 16-18, 2006

                          Mehlman CT, Farmer J
                          “Teaching Orthopaedics on the Run: Tell Me the Story
                          Backward”
                          14th Annual Osteopathic Orthopedic Educators’ Course for
                          Directors and Trainers
                          American Osteopathic Academy of Orthopedics
                          Scottsdale, Arizona
                          May 6-7, 2006




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                          Mehlman CT.
                          “The importance of evidence-based Orthopaedics in
                          resident training”
                          14th Annual Osteopathic Orthopedic Educators’ Course for
                          Directors and Trainers
                          American Osteopathic Academy of Orthopedics
                          Scottsdale, Arizona
                          May 6-7, 2006

                          Mehlman CT.
                          “Pearl and Pitfalls”
                          Harrison Pediatrics CME Lecture
                          Harrison, Ohio
                          November 30, 2005

                          Mehlman CT.
                          “Scoliosis-An Overview for Those in the Trenches”
                          Margaret Mary Community Hospital CME Lecture
                          Cincinnati, Ohio
                          November 15, 2005

                          Mehlman CT.
                          “Kid’s Sports Shoulder and Elbow Injuries”
                          Queen City Pediatrics CME Lecture
                          Cincinnati, Ohio
                          November 3, 2005

                          Mehlman CT.
                          “Congenital Spine”
                          “Femur Fractures in Children”
                          8th Annual What’s New in Pediatric Orthopedics
                          Albany Medical College
                          Albany, New York
                          October 20–21, 2005

                          Mehlman CT.
                          “My Kid’s Leg Looks Funny: Lower Extremity Problems in
                          Children”
                          Batesville Pediatrics CME Lecture
                          Batesville, Indiana
                          August 17, 2005




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                          Mehlman CT.
                          “Anatomical and Biomechanical Overview and Relationship
                          to Shoulder Pathology”
                          “Anterior Knee Pain and Surgical Options”
                          High School and Collegiate Sports Medicine Conference
                          Cincinnati Children’s Sports Medicine Biodynamics Center
                          Cincinnati, Ohio
                          July 22 – July 24, 2005

                          Mehlman CT.
                          “Neonatal Brachial Plexus Injury: You’ve Come A Long Way
                          Baby”
                          Ohio Osteopathic Association Annual Convention
                          Cincinnati Marriott at River Center Vista East
                          Covington, Kentucky
                          June 23 – 26, 2005

                          Mehlman CT.
                          “Anterior Knee Pain and Surgical Options”
                          “Anatomical and Biomechanical Overview and Relationship
                          to Shoulder Pathology”
                          2nd Annual Management of the Female Athlete Prevention
                          and Rehabilitation Strategies Conference
                          Cincinnati Children’s Hospital Medical Center
                          Cincinnati, Ohio
                          July 22, 2005

                          Mehlman CT.
                          “Professionalism: Lifeline to Success”
                          “Alumni Research Series Kickoff”
                          “Research Case Study – High Points of a Project”
                          “The Importance of Research and Why Should I Care”
                          “Traits of a Good Research Project”
                          Ohio University College of Osteopathic Medicine
                          Athens, Ohio
                          May 4, 2005

                          Mehlman CT.
                          “It’s a Bone Thing – Pearls and Pitfalls in Pediatric
                          Fractures”
                          Cincinnati Children’s Hospital Medical Center
                          Community Pediatrics Sunrise Lecture Series
                          Cincinnati, Ohio
                          May 3, 2005




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                        Curriculum Vitae Continued



                          Mehlman CT.
                          “Neonatal Brachial Plexus Injury – You’ve Come a Long Way
                          Baby”
                          University of Cincinnati Grand Rounds
                          Department of Physical Medicine and Rehabilitation
                          Cincinnati, Ohio
                          April 22, 2005

                          Mehlman CT.
                          “Evaluation of Joint Pain in the ER”
                          American College of Osteopathic Pediatricians
                          2005 Spring Conference
                          Chicago, Illinois
                          April 15–17, 2005

                          Mehlman CT.
                          “Neonatal Brachial Plexus Injuries”
                          “Knee Fractures in Children”
                          “Forearm Fractures in Children”
                          7th Annual What’s New in Pediatric Orthopedics
                          Albany Medical College
                          Albany, New York
                          October 22, 2004

                          Mehlman CT and Wall, EJ
                          “Common Orthopedic Injuries in Children”
                          Cincinnati Children’s Pediatric Update 2004
                          Cincinnati Children’s Hospital Medical Center
                          Cincinnati, Ohio
                          October 1 – 3, 2004

                          Mehlman CT.
                          “Treatment of Brachial Plexus Injury: The Team Approach
                          at CCHMC”
                          Neonatology Grand Rounds
                          Cincinnati Children’s Hospital Medical Center
                          Cincinnati, Ohio
                          June 11, 2004




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                          Mehlman CT.
                          Co-Chair/Presenter
                          “Ways Kids Get Hurt”
                          “Anterior Knee Pain in the Young Athlete”
                          “Little League Elbow and Shoulder”
                          “Physical Examination (Shoulder/Upper Extremity)”
                          Cincinnati Children’s Hospital Medical Center Sports
                          Medicine Symposium
                          Cincinnati, Ohio
                          April 16-17, 2004

                          Mehlman CT.
                          Pediatric Grand Rounds
                          “Idiopathic Scoliosis: Common Myths, Current Evidence &
                          Candent Ideas”
                          Cincinnati Children’s Hospital Medical Center
                          Cincinnati, Ohio
                          January 20, 2004

                          Mehlman CT.
                          University of Cincinnati Grand Rounds
                          “Common Bone Tumors in Children: An Evidence-Based
                          Approach”
                          University of Cincinnati College of Medicine
                          Cincinnati, Ohio
                          December 6, 2003

                          Mehlman CT.
                          “Shoulder Instabilities in the Female Athlete”
                          Cincinnati Children’s Sports Medicine Biodynamics Center
                          Cincinnati, Ohio
                          November 8, 2003

                          Mehlman CT.
                          “Scoliosis: An Evidence Based Approach”
                          Ohio University College of Osteopathic Medicine/CORE
                          Athens, Ohio
                          September 26-27, 2003




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                          Mehlman CT.
                          “Other Orthopaedic Issues in RTS…Knees, Hips
                          Ambulation” and
                          “Spine Problems Associated with RTS
                          International Family Conference on Rubinstein-Taybi
                          Syndrome
                          Northern Kentucky Convention Center
                          Covington, Kentucky
                          July 10-12, 2003

                          Mehlman CT.
                          “Pediatric Shoulder and Elbow Injuries”
                          2nd Annual Dayton Sports Medicine Institute
                          Dayton, Ohio
                          April 25, 2003

                          Mehlman CT.
                          “Common Orthopedic Problems in Pediatrics”
                          Cincinnati Children’s Hospital Medical Center
                          Cincinnati, Ohio
                          March 29, 2003

                          Michaud, L., and Mehlman CT.
                          Pediatric Grand Rounds
                          Brachial Plexus Injury
                          Cincinnati Children’s Hospital Medical Center
                          Cincinnati, Ohio
                          December 20, 2002

                          Mehlman CT.
                          “Common Bone Tumors in Kids “ and “OITE Tumor
                          Question Review”
                          Grandview Hospital
                          Dayton, Ohio
                          October 2, 2002

                          Michaud, L., and Mehlman CT. Pediatric Grand Rounds
                          Pediatric Rehabilitation
                          Brachial Plexus Injury
                          Cincinnati Children’s Hospital Medical Center
                          Cincinnati, Ohio
                          August 20, 2002




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                       Curriculum Vitae Continued



                          Mehlman CT.
                          “Bones R Us: Femoral Shaft Fractures in Children”
                          4th Annual Ohio Pediatric Trauma Symposium
                          Cincinnati, Ohio
                          April 19, 2002

                          Mehlman CT.
                          “Pediatric Hip and Knee”
                          CORE/Centers for Osteopathic Research and Education
                          Orthopedic RPAC Educational Day
                          Doctor’s Hospital
                          Columbus, Ohio
                          February 8, 2002

                          Mehlman CT. - Visiting Professor
                          “Benign Bone Tumors”
                          “CON: Clubfoot Casting”
                          “CON: Bracing and PT “
                          “DDH and Dislocation, Birth to 18 Months of Age”
                          “Foot and Ankle Trauma in Children: The Good, the Bad and
                          the Ugly”
                          “CON: Femur Fracture”
                          Ohio U Orthopaedic Surgery
                          Desmond Hotel and Conference Center
                          Albany, New York
                          October 25-26, 2001

                          Mehlman CT.
                          “Pediatric Foot and Congenital Ankle”
                          State Wide Campus-Orthopaedic Surgery Educational Day
                          Troy Management Center
                          Troy Michigan
                          August 8, 2001

                          Mehlman CT.
                          “Congenital Clubfoot: Evaluation and Treatment”
                          “Congenital Abnormalities: Pediatric Lower Extremities”
                           “Congenital Clubfoot: Evaluation & Treatment”
                           “Common Foot Problems in Children”
                           “Pediatric Congenital Foot & Ankle OITE Review”
                          CORE, Orthopaedic Educational Day
                          Ohio U College of Osteopathic Medicine
                          Doctors Hospital
                          Columbus, Ohio
                          June 8, 2001




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                          Mehlman CT.
                          “Pediatric Injuries of the Leg, Ankle, Foot (The Good, The
                          Bad, The Ugly)”
                          7th Annual Sports Medicine Symposium for the Health
                          Care Professional
                          Sharonville Convention Center
                          Cincinnati, Ohio
                          March 2–3, 2001

                          Mehlman CT.
                          “Spondylolisthesis in Children: The Low-Tech Approach”
                          Grand Rounds
                          University of Cincinnati College of Medicine
                          Department of Orthopaedic Surgery
                          Cincinnati, Ohio
                          November 8, 2000

                          Mehlman CT.
                          “Osteochondritis Dissecans of the Knee & Meniscal
                          Injuries “
                          “ACL Evaluation & Treatment in the Skeletally Immature
                          Knee”
                          “ Anterior Knee Pain”
                          3rd What’s New in Pediatric Orthopedics?
                          Albany Medical College
                          Albany, New York
                          October 27, 2000

                          Mehlman CT.
                          “The History of Scoliosis”
                          Orthopedic RPAC Educational Day - Doctors Hospital
                          Columbus, Ohio
                          September 8, 2000

                          Mehlman CT.
                          “Idiopathic Scoliosis: Overview of Diagnosis and
                          Management”
                          Orthopedic RPAC Educational Day
                          Doctors Hospital
                          Columbus, Ohio
                          September 8, 2000




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                          Mehlman CT.
                          “Thoracic & Lumbar Spine Trauma in Children”
                          Orthopedic RPAC Educational Day
                          Doctors Hospital
                          Columbus, Ohio
                          September 8, 2000

                          Mehlman CT.
                          “Spondylolysis & Spondylolisthesis in Children”
                          “Elbow Fractures in Children: The Ugly Lateral Condyle,
                          Medial Condyle, and Transphyseal Fractures in Children”
                          Columbus Children’s Hospital Grand Rounds
                          Columbus, Ohio
                          June 16, 2000

                          Mehlman CT.
                          “ Randomized Clinical Trials Instructional Course”
                          2000 Pediatric Orthopaedic Society of North America
                          meeting
                          Vancouver, British Columbia
                          Canada
                          May 1–4, 2000

                          Mehlman CT.
                          “Potpourri of Pediatric Trauma and Other Chuckisms”
                          40th Annual American Osteopathic Academy of
                          Orthopedics Postgraduate Seminar
                          Lake Buena Vista, Florida
                          May 5-6, 2000

                          Mehlman CT.
                          “How To Get Residents To Write A Paper”
                          “Coaching”
                          8th Annual American Osteopathic Academy of
                          Orthopedics Educators’ Course
                          Lake Buena Vista, Florida
                          May 6-7, 2000

                          Mehlman CT.
                          “Sports Injuries”
                          Obstetrics/Gynecology & Pediatrics Conference
                          Doctors Hospital
                          Columbus, Ohio
                          March 5, 2000




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                          Mehlman CT.
                          “Common Splinting”
                          Obstetrics/Gynecology & Pediatrics Conference
                          Doctors Hospital
                          Columbus, Ohio
                          March 5, 2000

                          Mehlman CT.
                          “Patient Focused Outcomes Assessment of Shoulder
                          Pathologies”
                          “Chronic Shoulder Instabilities”
                          6th Annual Sports Medicine Symposium for the Health
                          Care Professional
                          Sharonville Convention Center
                          Cincinnati, Ohio
                          March 3–4, 2000

                          Mehlman CT.
                          “Impact of VATS on Quality of Life”
                          Scoliosis Research Society Tutorial
                          Children’s Hospital Medical Center
                          Cincinnati, Ohio
                          December 9-10, 1999

                          Mehlman CT.
                          “Sports Injuries”
                          Dearborn County Hospital CME Lecture
                          Lawrenceburg, Indiana
                          November 12, 1999

                          Mehlman CT.
                          “Traumatic Injuries of the Hip & Pelvis in Children
                          Tots and Trauma: Trauma Update ‘99
                          Cincinnati Children’s Hospital Medical Center
                          Cincinnati, Ohio
                          November 12, 1999

                          Mehlman CT.
                          “Shoulder Instability in Young Adults and Children”
                          “Elbow Fractures in Children, ‘The Ugly Lateral Condyle,
                          Medial Condyle, and Transphyseal Fractures in Children”
                          Orthopaedic RPAC Educational Day
                          Doctors Hospital Central CORE
                          Columbus, Ohio
                          October 15, 1999




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                          Mehlman CT.
                          “Pseudodislocation of the AC Joint in Children: Growth
                          Plate Fractures
                          of the Distal Clavicle”
                          Orthopaedic RPAC Educational Day
                          Doctors Hospital Central CORE
                          Columbus, Ohio
                          October 15, 1999

                          Mehlman CT.
                          “Spondylolysis and Spondylolisthesis in Children,
                          The Low-Tech Approach”
                          “Common Pediatric Bone Lesions”
                          72nd Annual Clinical Assembly of Osteopathic Specialists
                          Seattle, Washington
                          October 2–5, 1999

                          Mehlman CT.
                          “Common Sports Injuries in Children”
                          “Hip Disorders in Children”
                          Ohio Osteopathic Association 101st Annual Meeting
                          Columbus, Ohio
                          June 26, 1999

                          Mehlman CT.
                          “Overview and Epidemiology of Extremity Trauma in
                          Children”
                          “Pediatric Wrist Fractures”
                          “Proximal Humeral Physeal Fractures”
                          AOAO 39th Postgraduate Seminar
                          Scottsdale, Arizona
                          May 1-2, 1999

                          Mehlman CT.
                          “Pediatric Orthopaedics: The Good, The Bad, and The Ugly”
                          Children’s Health Care
                          Batesville, Indiana
                          March 23, 1999

                          Mehlman CT.
                          “Pediatric orthopedics: A Survival Guide for Those in the
                          Trenches”
                          Pediatric Grand Rounds
                          Cincinnati Children’s Hospital Medical Center
                          Cincinnati, Ohio
                          February 16, 1999



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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                         Curriculum Vitae Continued



                          Mehlman CT.
                          “Clinical Effectiveness and Outcomes of Research
                          Doctors Hospital Central CORE
                          Ohio University College of Osteopathic Medicine
                          Athens, Ohio
                          December 11, 1998

                          Mehlman CT.
                          “Idiopathic Scoliosis: From Barber Surgeons to Bona-fide
                          Bone Doctors”
                          71st AOAO Clinical Assembly of Osteopathic Specialists
                          Chicago, Illinois
                          September 27, 1998

                          Mehlman CT.
                          “Clubfoot: Pathogenesis and Treatment”
                          “Miscellaneous Pediatric Foot”
                          Pediatric CORE Conference
                          Doctors Hospital West
                          Columbus, Ohio
                          May 29, 1998

                          Mehlman CT.
                          “Clinical Effectiveness vs. Clinical Defectiveness: What is
                          Outcomes Research All About”
                          Grand Rounds
                          University of Cincinnati College of Medicine
                          Department of Orthopaedic Surgery
                          Cincinnati, Ohio
                          January 31, 1998

                          Mehlman CT.
                          “Management of Femoral Shaft Fractures in Children”.
                          Education Design/Osteonics
                          New York, New York
                          November 21, 1997

                          Mehlman CT.
                          “Difficult Fractures About the Wrist in Children”
                          American Osteopathic Academy of Orthopedics
                          Atlanta, Georgia
                          September 20-23, 1997




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                          Mehlman CT.
                          “Fractures in Children: The Good, the Bad and the Ugly”
                          “Scoliosis: An Overview For Those in the Trenches”
                          “Pediatric Orthopaedics Jeopardy – Various Topics”
                          Pediatric CORE Conference
                          Doctors Hospital West
                          Columbus, Ohio
                          September 17, 1997

                          Mehlman CT.
                          “Pediatric Fractures”
                          Ohio Osteopathic Association
                          Cleveland, Ohio
                          June 21, 1997

                          Mehlman CT.
                          “Fracture Management in children: The Good, The Bad, and
                          The Ugly”
                          Ohio Osteopathic Association
                          Cleveland, Ohio
                          June 21, 1997

                          Mehlman CT.
                          “Scoliosis: An Overview for Those in the Trenches”
                          Ohio Osteopathic Association
                          Cleveland, Ohio
                          June 21, 1997

                          Mehlman CT.
                          “Newborn Foot Deformities”
                          St. Elizabeth South Hospital
                          Edgewood, Kentucky
                          June 12, 1997

                          Mehlman CT.
                          “Newborn Foot Deformities”
                          Children’s Hospital Medical Center
                          Community Pediatrics Grand Rounds
                          Cincinnati, Ohio
                          May 6, 1997




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                          Mehlman CT.
                          “Common Pediatric Foot Problems.”
                          Children’s Hospital Medical Center Brown County Outreach
                          Brown County Hospital
                          Georgetown, Ohio
                          September 4, 1996

                          Mehlman CT.
                          “The Pediatric Elbow: Fractures of the Proximal Radius,
                          Olecranon, and Medial Epicondyle.”
                          American Osteopathic Academy of Orthopaedics Midyear
                          Meeting
                          Dearborn, Michigan
                          May 6, 1996

                          Mehlman CT.
                          “Pediatric Elbow Anatomy: A Celestial Committee Update.”
                          American Osteopathic Academy of Orthopedics Midyear
                          Meeting
                          Dearborn, Michigan
                          May 5, 1996

                          Mehlman CT.
                          “Scoliosis: A Paradigm For the Study of Orthopaedic
                          History.”
                          Pediatric Spine Symposium: OU-COM
                          Grandview Hospital & Medical Center
                          Dayton, Ohio
                          April 1996

                          Mehlman CT.
                          “Injuries to the Lateral End of the Clavicle and A-C Joint:
                          A Pediatric Perspective.”
                          American Osteopathic Academy of Orthopaedics
                          Pediatric Orthopaedic Section
                          New Orleans, Louisiana
                          September 17, 1995

   CLINICAL RESEARCH      Mehlman CT.
                          “Orthopaedic Emergencies for the Uninterested.”
                          Symposium: The Spectrum of Emergency Medicine
                          Sponsored by Grandview/Southview Hospital’s Emergency
                          Medicine Program & Ohio Coalition of Osteopathic
                          Emergency Medicine Residencies
                          Dayton, Ohio
                          February 24, 1995



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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                        Curriculum Vitae Continued



                          Mehlman CT, Klein G. Non-Operative Treatment of
                          Spondylolysis and Spondylolisthesis in Children and Young
                          Adults: A Systematic Review.
                          University of Cincinnati Orthopaedic Department
                          2007 – current (Funded: UOREF Grant $6,335)

                          Mehlman CT, McCarty M
                          Spondylolisthesis: Intra and Inter-Observer Variability in
                          the Measurement of Percent Slip.
                          University of Cincinnati Orthopaedic Department
                          2007 – current (Funded: UOREF Grant $5,500)

                          Weinstein S, Mehlman CT. Multi-center BrAIST study.
                          Funding Source National Institute of Arthritis and
                          Musculoskeletal and Skin Diseases (NIAMS)
                          Grant Number: R01 AR052113
                          Study Title: Bracing in Adolescent Idiopathic Scoliosis
                          Trial (BrAIST)
                          University of Iowa
                          2003 – in progress

                          Mehlman CT, Foad SL. Incidence of Brachial Plexus
                          Injuries in the United States. NIH final approval pending

                          Mehlman CT, Michaud LJ, Allgier A, Yakuboff K.
                          Prospective Study of the Treatment for Brachial Plexus
                          Birth Palsy. IRB approved. In progress

                          Femoral Neck Fractures in Children: 20 Cincinnati Cases &
                          Meta-Analysis of 333 Cases
                          University of Cincinnati Orthopaedic Department
                          2003-2004

                          Weight > 99 Pounds (45kg) and Age > 12 Years Predict
                          Malunion Following Elastic Stable Intramedullary Nailing of
                          Femoral Shaft Fractures in Children
                          University of Cincinnati Orthopaedic Department
                          2003-2004

                          The Use of Conscious Sedation for Forearm Fracture
                          Reduction in Children: Does Race Matter?
                          University of Cincinnati Orthopaedic Department
                          2002-2003 (Funded: UOREF Grant $5.000)




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                        Curriculum Vitae Continued



                          Spinal Deformities Associated with Rubinstein-Taybi
                          Syndrome 2001
                          University of Cincinnati College of Medicine
                          Children’s Hospital Medical Center

                          Outcomes Following Surgical Treatment of Legg-Calve-
                          Perthes Disease 2001
                          University of Cincinnati College of Medicine
                          Children’s Hospital Medical Center

                          Buckle Fractures of the Distal Radius and Ulna in Children:
                          Risk Factors for Displacement
                          1999-2001 (Funded: CHMC Trustee Grant $20,000)

                          Pediatric Femoral Shaft Fractures: 90-90 Traction &
                          Casting versus Flexible Intramedullary Nails
                          Accepted AAOS 2000
                          Orlando, Florida

                          ATV and Bicycle Related Trauma in the Pediatric Population
                          2000
                          University of Cincinnati College of Medicine
                          Children’s Hospital Medical Center

                          Surgical Treatment of Spondylolisthesis in Children &
                          Adolescents 2000
                          University of Cincinnati College of Medicine
                          Children’s Hospital Medical Center

                          Video-Assisted Thoracoscopic Surgery in the Management
                          of Pediatric Spinal Deformity: Impact on Health Related
                          Quality of Life
                          Divisional Grant, Pediatric Orthopaedic Surgery $2,500
                          1999

                          Thoracic and Lumbar Spine Fractures in Children: An
                          Outcomes Analysis
                          Divisional Grant, Pediatric Orthopaedic Surgery $2,500
                          1999

                          Perioperative Complications Associated with Supracondylar
                          Humeral Fractures in Children: Does Timing of Surgery
                          Make a Difference?
                          1998




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  C. T. Mehlman, D.O., M.P.H., F.A.O. A.O.                       Curriculum Vitae Continued



                          Northeastern Ohio Universities College of Medicine
                          Akron General Medical Center
                          Akron, OH
                          In Vitro Stimulation of Rabbit Synoviocyte Collagen
                          Production by Ketorolac
                          Mehlman CT, Sloan-Stakelff K
                          1990 – 1991
   BASIC SCIENCE
   RESEARCH
                          Wright State University College of Medicine
                          Veterans Administration Medical Center
                          Dayton, OH
                          Musculotendinous Imbalance in Total Wrist Arthroplasty
                          Barre PS, Zachary SV, Mehlman CT
                          1988 – 1989

                          Northeastern Ohio Universities College of Medicine
                          Akron City Hospital Dept Musculoskeletal Research
                          Akron, OH
                          Biomechanical Analysis of the Zielke Anterior Spinal
                          Instrumentation System
                          Mehlman CT, Bethem D. , Askew M
                          1985

                          The University of Akron                                  157759003
                          Akron City Hospital Dept Vascular Research
                          Akron, OH
                          A Comparison of Microvascular Suture Techniques
                          Mehlman CT, Schmidt SP
                          1985
   MEDICAL PROVIDER                                                                000905693X
   INFORMATION
   MEDICAL PROVIDER       Arkansas Medicaid          200127610
   INFORMATION            Georgia Medicaid           200005290A
                          Indiana Medicaid           64954340
                          Kansas Medicaid            0159957
                          Kentucky Medicaid          50011165
                          Ohio Medicaid              1021005360001
                          PASSPORT                   4047411
                          Pennsylvania Medicaid      3810007526
                          Tennessee Medicaid
                          West Virginia Medicaid




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   EXAMINATIONS           Re-Certification American Osteopathic Board of
                          Orthopedic Surgery, Certificate No. R-1227 April 12, 2008
                          Ranked #1
                          Ranked #1 Part III [Clinical Exam] American Osteopathic
                          Board of Orthopaedic Surgery – Completed Exam 7/23/98
                          & 7/24/98

                          Part II [Oral Boards] American Osteopathic Board of
                          Orthopaedic Surgery 9/12/95 Ranked #3

                          Part I [Written Boards] American Osteopathic Board of
                          Orthopaedic Surgery 3/10/95 Ranked #1

                          2010 Orthopaedic In-Training Examination
                          2009 Orthopaedic In-Training Examination
                          2008 Orthopaedic In-Training Examination
                          2007 Orthopaedic In-Training Examination
                          2006 Orthopaedic In-Training Examination
                          2005 Orthopaedic In-Training Examination
                          2004 Orthopaedic In-Training Examination
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                          1992 Orthopaedic In-Training Examination
                          1991 Orthopaedic In-Training Examination
                          1990 Orthopaedic In-Training Examination
                          1989 Orthopaedic In-Training Examination

   PROFESSIONAL           American Orthopaedic Scoliosis Research Society Cabinet
   ASSOCIATIONS           Member [2008-present]

                          Scoliosis Research Society
                          Active Fellow 2007

                          Cincinnati Academy of Osteopathic Medicine & The Ohio
                          Osteopathic Association, President [2002-present]




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                          Scoliosis Research Society – Candidate Fellow [2002-
                          present]
                          Arthroscopy Association of North America [2000 –
                          present]

                          American Orthopaedic Foot and Ankle Society, Active
                          member
                          [1999 – present]

                          American Academy of Pediatrics [1999 – present]

                          American Osteopathic Association [1985 – present]

                          American Medical Association [1999 – present]

                          American Osteopathic Academy of Orthopedics
                          Inducted as Fellow [1998]
                          Candidate Member [1991 – 1998]
                          Publications Committee [1996 – present]
                          Research Committee [1996 – present]
                          Chairman [1998 – present]
                          Pediatric Section [1996 – present]
                          President [1998 – 1999]

                          Ohio State Medical Association
                          Academy of Medicine of Cincinnati [1996 – present]

                          Ohio Osteopathic Association [1985 – present]
                          Committee on Student Affairs & Physician
                          Placement [1990 – present]
                          House of Delegates Member [1999]
                          Professional Affairs Committee [1999 – present]

                          Pediatric Orthopaedic Society of North America
                          Associate Member [1999 – present]

                          North American Spine Society Active Member [1998 –
                          present]

                          American Fracture Association Active Member [1998 -
                          present]

                          National Athletic Trainers Association [1980-1990]




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   EDUCATIONAL            Teaching:
   ACTIVITIES             Twice weekly Didactic Lectures to residents
                          Wednesday weekly pediatric orthopaedic conferences

   COMMUNITY              Cincinnati Children’s Hospital Medical Center / Healing the
   SERVICE/               Children
   VOLUNTEER              Team Leader
   ACTIVITY               Spine related orthopaedic mission
                          Shanghai, China
                          October 14–21, 2007

                          Cincinnati Children’s Hospital Medical Center / Healing the
                          Children
                          Team Leader
                          Spine related orthopaedic mission
                          Shanghai, China
                          September 20–29, 2006

   :                      Cincinnati Children’s Hospital Medical Center/Healing the
                          Children,
                          Team Leader
                          Spine related orthopaedic mission
                          Shanghai, China
                          June 26–July 7, 2005

                          Healing the Children – Northeast, Inc., Member
                          Spine related orthopaedic mission
                          Shanghai, China
                          May 3–14, 2004

                          Member, Rock Hill United Presbyterian Church
                          Bellaire, OH [1976 – present]

                          Ohio University College of Osteopathic Medicine –
                          Academic Research Center / Integrated Learning Research
                          Facility Fund (contributed $10,000 in 2008)




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   FUNDRAISING &          Ohio University College of Osteopathic Medicine – Learning
   PHILANTHROPY           Research Center Expansion (contributed $1,000 in 1999
                          approx)

                          Orthopaedic Research Education Foundation (OREF) –
                          cumulative contribution of approx $12,000 since 1997

   MENTORSHIP             Ravinder Kang University of Cincinnati College of Medicine
                          2009

                          Eric Bowman University of Cincinnati College of Medicine
                          2009

                          Jessica Smalley Babal University of Cincinnati College of
                          Medicine 2009

                          Molly McGraw Ohio University College of Medicine 2008

                          Robert Talbert University of Cincinnati MS, Biological
                          Engineering 2008

                          Winston Chan University of Cincinnati Biological
                          Engineering 2008

                          Mary McCarty University of Cincinnati College of Medicine
                          2007

                          Guy Klein Ohio University College of Medicine 2007

                          Shilpa Reddy University of Cincinnati College of Medicine
                          2007

                          Raghav Tadepalli Northeastern Ohio University College of
                          Medicine 2007

                          Adarsh Srivastava Wright State University College of
                          Medicine 2007

                          Nicole McDonald University of Cincinnati College of
                          Medicine 2006

                          Lucas Richie University of Cincinnati College of Medicine
                          2006

                          Edward Moon University of Cincinnati College of Medicine
                          2005



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                          Tracy Lee (Bigelow) Doctor’s Hospital College of Medicine
                          2002

                          David Hoenninger University of Cincinnati College of
                          Medicine 2001

                          Matthew Koepplinger Ohio University College of Medicine
                          2000

                          Ian Rodway University of Cincinnati College of Medicine
                          2001 1999

                          George Papacostas University of Cincinnati College of
                          Medicine 1997




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                              EXHIBIT B
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     This section asks for information about the work that you have submitted for publication. The time frame for this reporting is that of the
     work itself, from the initial conception and planning to the present. The requested information is about resources that you received,
     either directly or indirectly (via your institution), to enable you to complete the work. Checking "No" means that you did the work
     without receiving any financial support from any third party -- that is, the work was supported by funds from the same institution that
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     in general, not just in the area of EGFR or lung cancer.
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     should also be listed here. If there is any question, it is usually better to disclose a relationship than not to do so.
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     perceived to have a financial stake in the outcome. Public funding sources, such as government agencies, charitable foundations or
     academic institutions, need not be disclosed. For example, if a government agency sponsored a study in which you have been involved
     and drugs were provided by a pharmaceutical company, you need only list the pharmaceutical company.


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      Use this section to report other relationships or activities that readers could perceive to have influenced, or that give the appearance of
      potentially influencing, what you wrote in the submitted work.



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      academic institution, etc.                                                    Pending: The patent has been filed but not issued
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      organization                                                                  Licensed: The patent has been licensed to an entity, whether
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      honoraria, royalties, or fees for consu lting , lectures, speakers bureaus,   Royalties: Fund s are coming in to you or your institution due to your
      expert testimony, employment, or other affiliations                           patent
      Non-Financial Support: Examples include drugs/equipment
      supplied by the entity, travel paid by the entity, writing assistance,
      administrative support, etc.
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 4. Are you the corresponding author?          Oves        0No


 5. ManuscriptTitle



 6. Manuscript Identifying Number (if you know it)




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 clicking the "Add+" box. You should report relationships that were present during the 36 months prior to publication.
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